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SID LOOBTA Pa $29,75 Tj
YOQUEH KABOR B LUNCH $12.95 Ty
FLAVER RICE $2.00 Tf
LOOBTA por
GHEYHEH BADEMJA

N LUNCH $8.95 17
DOOGH ABALT

$3.95 Ty .
Toyo? 11 No

$63.55
TXT

$5.71
SRVC TL $69 8-28

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 “Page 2of77 Page ID #:304

Exhibit 26

 
’ Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 "Page 3o0f 77 Page ID #:305

 

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Nai, Farhad |
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4100 Coast HIGHWAY ONE.

HIALF MOON Bay, CALirornia 94019
Te. 650.712.0220 + Fax 650.712.0693
RESERVATIONS 800.315.9366

WWW. BEACH-HOUSE.COM

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HERMOSA BEACH, CALIFORNIA 90254
Tet 310.374.3001 © Fax 310.372.2115
RESERVATIONS 888.895.4559

WWW BEACH-LOUSE.COM

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 ‘Page 4 of 77 Page ID #:306

Exhibit 27

 
Case 2:16-cv-06997-RGK-RAO ‘Document 1-3 Filed 09/16/16" Page 5 of 77 Page ID #:307 ~*~"

Real Food Daily
414 N, La Cienega Blyd
Los Angeles, Ca 90048

310-289-9910

Server: Jake DOB: 03/26/2013
01:21 PM 03/26/2013
Table 13/1 4/40005
Amex 4194310

Card 8XXXXXXXXXXX6006
Magnetic card present: DAMAVANDI B

Approval: 573916
Amount: $ 56,63

+ Tip: lo —

= Total: yl 63

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*Guest Copy**

Tana Nessce—

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AWN on (Pt 2 ‘.

Real Food Daily
414 N, La Cienega Blvd
Los Angeles, Ca 90048

310-289-9910

’ Server: Jake 03/26/2013
Table 13/1 1:20 PM
Guests: 2 . 40005
Nachos 14,50

$add taco mix
Hot Kukicha 3,95
Cold Kukicha 3,95
Pro Kale 12.95
Sd/Pico Gallo Sm] 0,95
Americano 2.15
Cobbler/Crisp 5,95
Power C 6,95
Subtotal 57,95
Tax 4,68
Total] 56,63
Balance Due 56.63

Real Food Daj ly
LARGO PATRONS
Bring your tickets to receive
$5 off each $25 spent.
Good only on the night of the show
wwe. real food. com/310-289-9910

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 ‘Page 6of 77 Page ID #:308

Exhibit 28

 
Case 2°16-cv-06997-RGK-RAO
eer ET .

FRESH CORN GRILL
8714 SANTA MONICA BLYD #100
WEST HOLLYWOOD, CA s0089

Tz, a XHOOD
BESTROOD REST BOLT, OD,
1510 Hestucod £2. 8714 Sanka Monica BL
Los Angeles CA $0024 West Hollvwood CA 96069

 

 

 

- TEL: (310)855-9592 " aI DATA 320-855-9592
or ocayb este {E} 310-855-9604 (F}
MC #03 - ww feshcornssill.com
REG COl 03-20-2013 11:14 AM 111137
Fr
ORDER# 111137
CATERING $120.00 T1 | Damavand;
a $0.00
TOGO: ++ $0.00
TOGO: ++ $0.00
TOGO. ++ $0.00 _ we, .
TA $120.00 “\3_ Time needed:
TH $10.80
TL $130.86
CASH $130.80 | 6 | : |
OPEN HOURS: DAILY + 11:30AM~10PM Oo Citrus

THANK YOU ! t

HAVE A NICE Day ! vx 2. Salmon

— Coon/2uch
~ Brocco},

~ Potato

~ Bread
~Dessef+

— Danks
~Set- yo

ABBQ

Total Due: | 30.20
CC# | exp

“Doctinént 1-3 “Filéd'08/16/16 “Page 7 Of 77 Paige ID#°309" *

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 “Page 8 of 77 Page ID #:310

Exhibit 29

 
“Case 2°46-CV-66997-RGK-RAO “DdcuMENt 123° Filéd'09/16/16" Page 9 of 77 © Page ID #:311°---~

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cor Ja fidsap)
Marie Salceds

 

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<A nha, HP Mm

 

TEA DEMAVANDI
211 N
PRAIRIE
HIPS
INGLEWOOD
2102482

TUE MARCH 12,2013
° CHECK #156719~-1

1 MISC, ROTISSERIE MEA $237.50

DELIVERY ‘ $1.50
TAX : £241.38
TOTAL. PERE sts
Tine: tbs

BROS ati
LNJDY!

Yuu HAVE BEEN SERVED:
BY ; Manager 10

DELIVERY #122

AMERICAN EXPRE: $260.38
BoE EB OOG

 

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 100f 77 Page ID #:312

Exhibit 30

 
313

16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 11of77 Page ID#

Case 2

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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COZEPIPOOUXS| OOEDT 82006 V2 SAT3DNY SO1 LS SNIA O98T FOVUOLS JIVdS WULXI ZSEO NI LNSWOVNYW 39d VELX3 OLS| TLOe¢/T/tT SIONVAVNVG Viv3d | 9T8Zee
COZEPSPOOUXD| 6S°8ET B0TP-81006 VI SAISON SO1 GATE ALNADIA NYS S 0Or, SV88V HVHS SVaaV HVHS TWH] Tt0z/2/TT SIONVAVVG Vivad | ST8ZeE
QE'OTT £O9E-TEZ06 VO STIH AIUSAIa GATE NOSLUIGOU S Ebp ONIMALVD O03YSTV INI ONIMALWS OGANATV| ttoe/be/6 GJONVAVINVG Vivad /STBZEE
O6"OT T6TE-SE006 VD SATZONV SOT CTE 31S 1S GUE M EEED| SUI £225 SHONGUVLS SHRINY Vd £225 SHINGUVSS| zt0z/s/or SIGNVAVIVG Vivae | 9TBZEE
£9°%L QEGC-TTZ06 VO STHH ATUSAR COT # GATE BHIHSTIM 0298 33VO S YIGNVX3TW INI ADALHOU et0z/s7z/6 SIGNVAVINVG Vivid |9T8ZEE
S2'r 8P006 VO STADNV SO1 GY SNUNG JDYOAD § GET 9S2 LOT HUVd V1 40 ALID SATZDNY SOT 40 ALID e1oe/£z7/6 SJONVAVING Viva8 | ST8ZEE
oS'BTT €09E-TT206 V3 STIIH AINZAIS GAT NOSLHSEOY S Err ONIWSLV OGIESIV INI ONISLVD OdaddiV| 2t0z/9T/ot SIGNVAVMIVd Vivae|STSZee
OL'7aT EO9E-TTZ06 V3 STIIH AT¥3AIS GAIA NOSLUZEOH S Ebr ONIWBLVD OG3UI1V INI ONIWALVO OdaudTV| 2t07/9¢/oT BIGNVAVINYG Vivsa/9TSZee
00't 8006 V2 SITZONV SOT CA19 ATUIAaG 00S8 98h YALN3D ATHIAR | SINALSAS ONIN WWHINID et0z/ot/oT BIGNVAVIAVG Vive |9TSZEE
£o°Lt ZOTP-8h006 V9 SITHONY SO7 GA18 ZINIDIA NVS S O89) OMVH LNVUNVISIY NOISIA ONIUdS etoe/pz/or SIGNVAVAIVG Vivad|ST8ZEE
GE'PET @B0E-88S6 VD NOLNVSVId UG GOOMISOY OzrP Od OU VEL ITI AUTIGOW Lely eto2/s/ot GIGNVAVINVG VLV38/9T8ZEE
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oo'e 8¥006 V2 SIJZONY SO1 GY SNUNG IOYOSD S GET 952 LOT Aud Vi dO ALID SATADNY $0140 AUD etoz/b/ot GI ONVAVIAVG Wivaa |9T8Zce
ve'ty ZOTY-8b006 V2 SATISNY SO? GATS ALNADIA NYS $ O8b OUVH INVENVISAY NOISIA ONIUdS etod/e/or SIGNVAVINVG W1LV38 | STBLEE
ao'vt 82TS-9b006 V2 COOMATIOH 154M ZOF 315 GA1G VOINOW VINVS TO6Z CTS9 SHINGUVLS ZTS9 SHINGUVLS| 2toz/6T/oT SIGNVAVAWd VLvad|9T8ZeE
S0°¢2 TOEE-ET206 VO STIIH AiW3ARg GATE VO3NAID V1 S Sb] BSLS# SHONAUVLS BSZS# SHINGUVIS ztoz/s2/or SONVAVINVG VLvaa | STBLEE
by'st 9199-9006 VI GOOMATIOH LSM CA18 VINOW VINVS POEL Ov0 SAOf WAGVUL OFO SIO HACVHL etoe/Pe/or SIGNVAVINVG V1Vad | 9T8ZEE
St'eT E0RT-BP006 VI GOOMATIOH 1S4M GATE ATMAARd EGL8 8b JV3T Val 8 NV38 33540) 8b 4V31 VL 8 N¥38 3asIOD etoz/ot/or GIGNVAVIAVG Vivid |STBZEE
oo"os 8OTH-8b006 V2 SITZONV SO] GATS 3LN3DIA NVS S$ 00P| svaav HVHS S¥aaV HVHS| 2t0z/ez/ot GGNVAVWYG Vlv3e| 9T8ZEE
00°% 8b006 VO SIZDNY SO7 OY SNUNG 3DYOID S GET. 954 LOTAUVd W150 ALID SATADNV SO140 ALID etoz/e/ot A/GNVAVINVG Vilvaa|ST8ZEE
SO 8006 V3 STIZDNV S01 GH SNUNB JDYORD S BET 952 LOT HYVd V1 dO ALID STIZONV SO140 ALID @t0z/0t/or BIONVAVAVG Viva |[ST8Zee
o0'% 81006 V2 SIZONV S01 GY SNUNG IDUOIO S GET 954 LO1 Aud W140 ALID SATSONY SO1 SO ALID et0z/8e/6 alanvaviwva vivae[otacee
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02'9T 2061-89006 VD GOOMATIOH 1S3M GATS VO3N3ID VIN YT, OHAM/ATIVG GOOS 1W3Y INI Gu zroe/or/ot S|ONVAVAIVG Vivag |ST8ZEE
o0°e 80006 VO SISDNY SO1 GY SNUNG SDHOAO S GET 954 101 AuWd V1dO ALIS STISONV SO7 40 ALIS. et0¢/vz/ot S/GNVAVINVG Vivae|STSZee
00°eT 8006 VO SAISON SO? OOTH “GATE SHIHSTIM T2729 "ONE 'AOVWHd WN G ‘ONT ADVWUVHd WN G zt0¢/ve/6 S|ONVAVANVG Vivaa|9TBZEE
00° 89006 VO S3TIONY SO1 GA18 AlU3A3¢ 0088 98b UILNFD ATUIAIG | SISLSAS ONINYVd TWHIN3D etoe/tt/ot S|GNVAVIVG V1v38|9TSZEE
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vO'SST STTZ-TP826 VO SACHS NAGUVD JAV NVI YHD Tope WINIOD HENYVM SWI SONI 318V3 HaNYYM SWI ztoe/ze/ot SIONVAVINVG Vlvaa | STaZee
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00'82T POEC-L5006 VO SSTSDNV SOT IS GUE M 9067 SL MAN ONI 9¢ Sid WAY zt0z/8/ot SIGNVAVIVG Vivad | STBZEE
bS'8Tt £O9E-TTZ06 VO STIH ATHIARE GATS NOSLY38OH S Evy ONTWALVD OdaYsI INI ONIW3LVO Odaus1V 2tOe/Zt/ot BGNVAVINVG Vivag | 9T8Ze€
S9’OT 8662-89006 VD SATAONY SOT T 31S SAV GNVIHOIH N COST O29S SHONAYVLS 0295 SHINGYVLS etoe/T/or SJONVAVIAVG Viva) 9TeZee
OS°E LT8b-0T 7206 VO STUH ATUBARE OT WH UC QHO4XIY N SSP SUALIIN ONDINVd HE STUH ATUAAgS JO ALID ctoe/tt/or GJONVAVINVG Vivaa | STBLEE
ge'ee $O8T-8h006 VD GOOMATION 1S3M GATE ATY3AR8 0048 UVIS UL GI IVNIS SY¥39 DT SNOILVuadO OX3GOS etoz/e/or QIGNVAVVG Wivag | 9TeZee
To's 8b006 V2 SATIONY SOTSOTE LINN 1S GUE 1SaM TE98 UV HOIMGNYS 3HLITINVO 12 ctoz/at/or SIGNVAVINVG Vivae [STBLEE
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S6'9 6052-82006 V3 SUIZSNV SO1 GATE LASNNS M L502) L3SNNS ZObS SNINGUVLS LASNNS ZOPS SHINGYVIS zt0z/8t/6 SIONVAVIAVG ViLWad|9T8Zee
slo 218-01 206 V2 STIIH AUSASE OFT WY HC GYOsXaY N SSP SUALZIN ONIYWd He STH ATUSARE AO ALID etoz/s2/ot SIGNVAVIAVG Wivag |STRZEE
oo'e 8b006 VO SIADNV SO1 GY SNHNE SDHORO S GET. 9S£ 101 XuWd V1dO ALID SATZDNV SOT SO ALID eto7/st/or A/GNVAVINVG VLv3a|9T8ZEE
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2O'pOr OTZ06 V2 STHH ATHAAIa GATE VOINOW VINVS T096 STUH ATHaARA ZIV ININYd ‘NI ‘SLNAWLSIANI O3G0U ct07/87/6 SIONVAVIG Vivaa|9T8Zee
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SL’°6E TOEE-TEZ06 VI STIIH A1U3AR8 GAIG VOANTIO V1 S StZ| BSLSH SHONGUVLS BSZS# SHONGUVIS etoz/2/or S/GNVAVINVG Vivid |ST8ZEe
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vE'G ST2C-9b006 V3 STIZDNV SOT CATA LASNNS M GESZ| 6T6SH JD!HdO XIGAS INI ADts4O XAGAA etoc/b7/6 S|GNVAVIAVG Viv3a|9TSZEE
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SEBTSOSOOUXD| L2°2E bPES-9b006 VD GOOMATIOH 1SAM GAIS VOINOW VINVS TZ84 TOHLAYVI SGQOJ SIOHM TOHISAUVIN SdO0s JIOHM, SINDIH| 2102/27 /b DIGNVAVINVG Vivad |ST8Zce
SEBTSOSOOUXD! 96°6T bES-97006 V2 GCOOMATIOH LS3M GAT9 VOINOW VINVS TZ82:! JOHAN SG004 JIOHM IOHLINVW SGOOJ FIOHM SIWIDIH|2T02/2T/b DIGNVAYNVG ViV38|9TSZEe
EELSOTSOOUXS| 68°0ZT ET9b-O1Z06 V3 STIIH ATNAARE UG ATYSARS N SED] STITH ATHIAIG SAMUVHS NI STIK ATH3AR8 SAXUYHS, TIWI9H| 2102/1 t/b JJONVAVINVG VLV38{9TSZEE
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EELSOTSOOYXD| CO'OST 9€005 VI SFTISONV SOT "NO SAOUD HLNOS TET YOLS 3143S LAAYV SHSWYYS 71 SUS THUG SYOWTID DLS} ZT07/0L/7 DIONVAVAVG V1Va8 | 9TBLEE
SEBTSOSCOUXD| OO'OTZ Y0E2-2S006 VD SAISDNV SO11S GE AA 906T SL MIN SNI9Z Sid IVY TIW9H{2102/9/b OGNVAVAIVG VLV3a | 9EBZEE
B9ZSEGPOONXS| SO'EET CBOE-88S6 VI NOLNYSW31d YO GOOMASOY OZby DVd OL DBLW D711 ALISOW Ley ‘139|2t02/S/¢ SIGNVAVINV Vivid |9TBLEE
B9ZSEGPOOUXD] 88'bS ZIT 87006 V2 SATAONV SO1LS GUE M Ozb8 SHL'VA-VaVZI NOLLYUOdHOD € OARHIVL| gM 710z/0e/E SIONVAVINVG Wlvae|9T8Zee
B92S66F00UXS| #S"9S 80TY-8P006 V2 SITADNV SOT CATA SLN3DIA NVS S 004 SvVaav HVHS Svagv HVHS| TIADSH|2t0z/92/€ DIONVAVINWG Vivad |STaZee
ZLTPEBPOOUXD| GE'S SOEY-OTZ06 VO STHH ATHIARE GATE VOINOW VINVS 0896 8SS¢# 301340 X3044 ONI JDsdO XAGAI d09|zt02/s/e DIGNVAVWVG Vlvie|9TBZee
CLIVEBPOONXS| O9°%Z $OEZ-TTZ06 VO STIIH ATHSAIE GAT SYIHSTIM 8ZE8 v8 3V37 V3L/NVIE A3S309 $8 4V3T VIL/NV3E 334502 SIW3I9H|Z102/62/2 SIONVAVAIVG Viva8|9TeZEe
ZLTP8BPOOUXS} OO'OT 8¥006 V3 SSTZONV SOT GATE ATH3AR9 0028 AN3D IV3IGIW IVNIS SYVO39 ONIHVd WALSAS OOdWY uvd|2T07/82/z SIGNVAVINVG Vivid |9TBZEE
CLEVEBPOOUXD| 00°08 87006 VO SI1SDNV SO IS GUE M 0028 QAO) TONI OIZNANNV,G aA | e102/82/z SIQNVAVWVG Vivid |9T8ZE€
ZLTPBBPOOUXD| Ob'ZT ZO9b-OTZ06 VO STTIH ATH3ARG HC ATUSARE N 82 334409 SHSNGYVIS SOS ATNSAIE SHINGUVLS SIWIDH|210Z/v2/z SIONVAVINVG Vivid |9T8Zec
CLTPBEPOOUXD| SE'OZ 6052-82006 V3 STISDNV SO1 GAT LASNNS M 2502 LBSNNS ZOPS SHINGUVIS LASNNS ZOPSs SHDNEUVIS SIWIDH|2102/E2/z DIGNVAVING Vivae|9T8Zee
CLTPEBYOOUXS| 00'6 €T0Z-29006 VI STISONV SOT 106 215 3 AYWd AUNLNID 0802: Zid WIIGRW ALIS AUN.LNAD ZV 1d TWOIdaIA ALID AUALN3D uvd|Zt0¢/ze/e DIONVAVWVG Vivid |ST8ZeE
ZLTPBBPOOUXD| bO'ET SO8E-ZT206 VO STIIH ATH3ATE UO ATNSARG S 207. STUH ATHIAIE/ANOWAIVHD D AUSAVE HONSES INOVdVHD SUNIIH|Z102/22/Z DIGNVAVWVG vivaa|ST8ZeE
CLUPBBEOOUXS| TS"EST STT2-TP876 VD SAQUD NIGUYD JAV NVINdVHD Tbe WINO3 Y3NYVM SWIL ON S18vo YSNYVM SIN {Hd|@t0¢/e2/z DIGNVAVINVG W148 |ST8Zee
CLEPBBPOOUXD| OO'ET TeSE-TTZO6 VO STIIH ATHSARE GATS JIdWATO MA S06 SIdWATO 7290 SHONGUVIS DIdATO TZ90 SHINEUYLS| SIWIDH|Z10¢/9T/e DIGNVAVIVG Viva |9T8Zee
CLTHBBHOOUXD| OO’ST 8b006 VO COOMATIOH 1SAM 8 Ld¥ UG TIVMS N tpt GaNVa AWAINA UST Luv OuVN SIWIDH| et0z/St/z DIONVAVING Viva] 9T8ZeE
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CLEPBSPOOUXD| OO'ST 8¥006 V3 COOMATIOH 1S3M 8 LdV Ya TIVMS N Trt GAAVE AWWA 83TIIW LAHVOUVIN SIWIDH|Z102/sT/z SJONVAVIAVG Vivaa|ST8ZEe
CLTEPBBPOONXS| OO'ST 8b006 VI GOOMATIOH SS3M 8 LdV UG TIVMS N THT Gaya AWWA 8aTIIN LaYVvOuVAL SIWIIH | 2T02/ST/z DIGNVAVVG VLVAs|9T8ZEE
CLTPEBHOOUXD| OO'PZ 8b006 VI GOOMATIOH 453M 8 Ld¥ BG TIVMS N ToT G3NVE AWINNA 83TH La8VOHVIN STND9H|2702/St/z DIONVAVINVG Viva |/9TBZEe
ZLTPBBPOOUXD] SZ'vz TTEP-Bb006 VD STIFONV SO11S GUE M OSes GUIHL NO SNYOF NI ANVdINOD ONY Good SIWIIH] Z102/bt/z SJONVAVING Viva | 9TeZec
ZLTPBBYOOUXD| O6'PIT POBE-SPZO6 VO OGNMDAS 13 1S NIV TSZ NOfid N3¥DIHD ASIHINVYS NOTG N3XIIKD THWISH|2T07/0t/z DIGNVAVINVG VLVa8|9T8ZEE
CLTPSBbOOUXD| Ob'ET £2TS°9b006 VI GOOMATIOH M GAId VOINOW YINVS TO6L ZTS9 SHINGUVIS ZES9 SHDNGYVI1S, SIWIIH(2T02/8/Z DIGNVAVIAVG Vlvaa|9TBZEE
ZLTHBBPOOUXD| OO'ZHE bO8E-SPZ06 VI OGNNDAS 74 1S NIVW TSZ NOMd N3XDIHD SSIHDNVHd NOSIO N3XOTHD TIWD9H|2Z10%/2/e DIONVAVINVG VLV38|9Te8ZEE
P9GPLEPOOUXD| OS'T E0ZE-9PO06 VO STIZDNY SO? GAIG GOOMATIOH OTL TIOH M OND Yd OOd WY SDNY WLUSAS OOdWY, wvd[2t0z/9/z DjANVAVWVd VLvaa | 9T8Zee
POBPLEPOOUXD| TS'ZeT Z80E-88SP6 VI NOLNYSW3Id HO GOOMASOY OZ, O¥d DIL DSLy O71 ‘Ht ALITIGOW Lei Tap 2t02/5/z DIONVAVINVG Viva8{9TeZee
CLEVBBPOOUXD! OO'PET 8OTP-BP006 VD S21ZDNV SOT GAIA SLN3DIA NVS S 00b SVaaV HVHS SVag¥ HVHS TIWI9H | Z2102/2/Z DIONVAVINVG V1v3a)9TaZEe
CLIVBBPOOUXD| S6°ST POEZ-TEZ06 VO STIIH ATHIAIG GATE JHIHSTIM 8ZE8 $8 3V31 V3L/NV38 394509 8 3V31 V3IL/NVAd 335509 SIWIDH|2T02/2/z DIONVAVINVG V1V38 /9T8ZEE
¥9GYLBP00NXD) OS'0 8b006 VI STSDNV SOT GY SNYNG 3DYOAD S GET! 992 101 XUVd V140 ALID SSTADNY SO1 40 ALID uvd|2T02/T/z SIGNVAVINVG VlVvaa|9T8ZEE
CLEPBBHOOUXD) SELT OEZ-TIZ06 VD STIIH ATUJAIG GATE AYIHSTIM BZEB $8 dV31 W3L/NVA9 344403 8 4V37 WIL/NVAd 334309 SIWD9H|2T02/T/z DIONVAVAVG VLVa8 | 9T8ZEe
P9IGPZBP00NXD} CO's TO0%-29006 VD SATADNV SO1 Hd 3 NNW AUN.LN3D 0802: ZV1d WOIGIW ALIS AUNLN3D ZV 1d TV3IGSW ALIS AUNLNSD w¥d|ZT0z/Te/E DJANVAVAVG ViLVA8|9T8ZEE
PIGPLBPOOUXD| T2°L0z 8OTH-87006 V2 S2TADNV SO1 GATE JLN3DIA NYS S 008) svaav HVHS SVaa¥ HVHS TWH 2102 /Sz/T DIONVAVINVG ViLV38 | 9T8ZEE
PIGPLBPOOUXD| ZL°2z 6025-22006 V2 STIFDNV SOT GAT8 LISNNS M 6025 AUSXVE NOS 2 USHLYS NVIN3SLU3L TAAWYS, SIWD9H|2T02/62/T JJQNVAVIAVG Vlv48|9T8ZEe
PIBPLELOOUXD| PEE 6025-22006 V3 STTZDNY SOT GAI8 LASNNS M 6072S AUD IVE NOS "8 UIHLVI NVIUSLUSL TANS. THANIDH) 2T0e/be/T SJQNVAVINVG Vivas |9T3Zee
POGPLEPOOUXD| OP'ST POEZ-TI206 VO STH ATHAAIE GATS SUIHSTIIM 8ZE8 8 AV3'1 V3L/NVa8 333409 v8 AVI Val/NV3d 333409 SIADSH| et02/6T/t DIGNVAVINVG Viva |STBZEE
POGPLEYOOUXD| OT'S9T bOB8E-SHZ06 VI OGNNDAS 13 1S NIV TS¢ NOfI0 N3XDIKD 3SIHINVYd NOfId N3XIHD TWI3H|2t02/2E/T OIGNVAVIAWG Vivas |ST8ZEe
GLELTSPOOUXD| 00°C 8P006 V2 SISDNV SO? GY SNYNE JDYOID S GET 9S2 101 HUVd V1dO ALID SSTSZONY SO1I0 ALID UV] 2T0Zz/T1/T DIONVAVINVG ViVad|STBZEE
v9G6PZBYOOUXS| OO'OTZ vOE2-2S006 VO SATAONV SO1 LS GUE M 906T OL MW3N SNE 92 SN1d WW TIWIIH|210z/6/T DIGNVAVINVG Viva |9T8ZEe
GLELTSPOONXS| OO'T 8P006 V2 SIZONV SOT OY SNUNG IOUOIO S GET 9S2 101 HUVd ¥120 ALID STISDNV SO7dO ALD u¥d|[2t0z/9/T DIGNVAVWVG Vivaa|ST8Zce
GZ8ZT8P00UXS} OO'OST 9€006 VD SJTAONV SO1 “UG ZACHD HINOS TIT HOLS 4739S LAWN SUSWUV4 OTT LUIS THHG ANVOWNS S1s8|2t02/2/t OIGNVAVAVG Vivaa|STBZEe
L8EG8LP00UXD| SE*LTZ ¥2S8-82006 VI GOOMATIGH GAA LASNNS M 0095S 9T99 LOd3G SINOH 9199 £0d30 JWOH A¥203d|Tt07/62/2t D/GNVAVINVG Viva |9T8Zee
LBEGSLPOONXD| CO'T TOST6 VO STTZONV SO? GATE VIIONDVW 62ZTT ONAUd G3Y3L3W ALID WI SATIONV S01 20 ALD uvd| Tr0z/22/2t DIGNVAVING VLvaa | STBZEe
L8EGBLPOOUXD| TETST STEC-TH8Z6 V3 3AOUD NIGHYD JAV NVINdVHD Tepe WWO)D Y3NHVM 2WIL NI STS Y3NYVM SAL {Hd] T0¢/Zzz/zt SIONVAVING Vive |ST8ZeE
L£8€68£/00NX9| 00°ST 8006 V3 COOMATION ISAM 8 LdV UG TIVMS N THT Gav AIAN YSTTIW LasVOUVIN SIWIDH|T10z/02z/2T O/GNVAVINVG VLVaa (STSZee
LBEGBLPOOUXD| CO'8T 80006 VD GOOMATIOH 1S3M 8 Ld¥ UG TIVMS N TPT GaxVe AWWA Y3TIIW LayVvOUVIN, SIWIDH|Tt0z/02/2T SIGNVAVVG ViLlvaa{9TeZee
L8E68ZP00UXD| 0O'ST 8b006 VI COOMATIGH LSIM 8 Ld¥ YG TIVMS N TPT Gave AWWA YaTTIW LasvoUuv SIWIOH|T10Z/02/2T SIONVAVIVG VLWa8 |9TBZEE
L8E682P00UX9| 00622 POBE-SHZ06 VI OGNND3S 13 LS NIVIN TSZ; NOftG N3XSIHD 3SIHDNVHd NOfIC N3XDIHD TIWD9H|T10z/02/2T DIGNVAVINVG Vlv3a|9TSZee
L8E68L700HX9| 00'8T 8006 V3 COOMATIOH JSAM 8 Ld¥ UG TIVMS N TOT GAVE AWWA UBT I3YVOUVA SIWIIH|Tt0z/0z/2t SIGNVAVWVG V1Va8] STeZeE
LEEGRLPOOUXS| LS°ST 6052-82006 V3 SF13DNV SO1 A718 LISNNS M 25024 AASNAS ZOPS SHINAUVLS LISNNS ZOPS SHINGUYLS| SIW39H{TTOz/o2/2t DIGNVAVAWG Vivid |9TaZec
LBEGBLYOOUXD| ZL°TS 60SZ-87006 V2 SSTFONV SOT OA JSNNS M L502 AASNNS ZObS SHINAYVIS LISNNS ZO¥S SHINGUVILS| SWISH TTOZ/6T/2T DIGNVAVIVG Vivid |9T8ZEE
LBEGBLPOONXD| LE've ZOEC-SE006 YO SAIZDNV SOT GATE Old M 2298] ODId AYBIVE ZLUVMHOS ‘ONT VIANYT SUNDIH|TTOe/bt/2T DIGNVAVINGG Vivid |ST8Zee
ZEGSELPOOUXD] Lb‘ope'T OTZ06 VO STIIH ATH3A3g HG NONVO N Stb SNOH AVALS SONYS JIOM O71 STHH ATHIARE AVALS MA QIWIDH|Tt0Z/8/2T DIGNVAVIAVG Vivad |ST8ZEE
ZEGSELDOONXD| 00°S9 9€006 VI SATAONY SOT “HG SAUD HLNOS TIT HOLS STaS LUV SHAW STI ALIS THYG JUOWID O1S|Ti10¢/T/2T DIGNVAVWVG Vivaa|ST8ZEE
S6TLE9POOUXD| O2°7T €08T-BP006 VD COOMATION 1S3M GATE AINBAZE E68 8b AVI VSL 8 NVAG 394409 St dVIT V3IL9 NV3G 333409 SIWOIDH|T1OZ/62/TT DIONVAVIVG Vivid |ST8ZEE
#VaL- wep] (and paiig) ssasppy JUeYIIaY - e3eq Pie BEN WEY - eJeq pied apo> aye] apo; snyeys pze3 ua Jaquinn]
yunowy| asuadxy uonaesuer]| UoNsesties, | osWeN-eyeq pseD] =~ aadojdwug
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LTBETESOONXD} 02'S £06T-8P006 VI GOOMATION LS4M GAIG VOINAID VIN OLY OHAM/ATIVE COOd TVae ONI Gay STWD9H|ZTOC/6T/2 DIONVAVAIVd Viva |9T8Zee
LTBETESOGUXD] OS'07 OTZO6 VO STIIH ATU3ARS VOINOW VINVS JILIN LE96 TOT WV3u3 331 SATXNINdS INI SAVIN STANTS STWD9H|2102/8T/2£ DIONVAVINVG Vivaa|STaZee
LIBETESOOUXD| Gb°ZE OTZO6 VO STI ATUSAI9 GATa VIINOW VLNYS TO96| STIIH ATH3AI8 33V2 ININVd ‘NI ‘SLNSWIS3ANI OFGOU THAIIH|2T0z/TT/L DIONVAVIVG Vivid | 9TeZee
LTBETESOONXD| 95°2 LZEC-ZT206 VO STIIK A1Y3AA GATS SUIHSTIM T2496] CHSdOHD LWNOUD JvaINIsYS OHSdOHD LIINUNOD dva Naa SIWI3H{Zt07/0t/L SHONVAVIAVG VLV39/ST8ZEe
SOGESZSOOUXD| EE'ZET 28GE-88Sb6 VO NOLNYSV31d YD GOOM3ISOY 0ZPP| OV OU VBLV ITT‘ ALNIEOW L8LV OHd| 2102 /S/2 O[GNVAVIAVG Vlvaa|9T8Zce
LTB6TESOOUXS| 08°6T 4078-80006 VI S3TJDNV SOT GAIA NOSLUABOU S ShT BAND | ‘O04 8 3NIM 3NId 33AND DAW |Zt02/b/2 OJQNVAVINVG vLvaa|9T8Zee
SOGEBZSOOUXD| S20 8b006 VD STRONY SO1 GY SNUNG JOYOID S GET 952 LOT AUVd V140 ALID STIAONV SOT JO ALID, uvd|210z/62/9 DIGNVAVIANVG v1v38|STSZeE
SOGEBZSOOUXD] SO'PT CCEC-CTCOG WO STH ATS3ARS GATE SHIHSTIM TZ96| OHSdOHD 3WNOYDS 3VFINSIYD OHSdOHD LEWHNOD JVTINAO SIWIDH|2102/82/9 SIONVAVINVG ViVa8|STBZEe
SOGEBZSOOUXD| SZ°ZT E08T-87006 YD COOMATIOH 1S3M GATS ATH3AZS E6Z9: By dVaT Val 8 NV38 334409 8b AVA VIL 3 NV38 334300 SIAD5H|2t02/22/9 SIONVAVIVG Vive | ST8ZEe
SOBESZSCOUXD| TS’09 Z0Tb-8/006 VI SATJONY SO} GATE SINIDIA NYS S OBY, MYVH INVENVLSIY NOISIA ONIYdS| Dan |2t0¢/L¢/9 SIGNVAVIG Viva loTBZEg
SOGEBZSGOUXD| 99°9S O&G2-TTZ06 VO STHH AIU3ARE OOT # GATS SUIHSTIM 0298 34V2 S UZQNVXATV INI YOSLHOY TIWDSH| 2102/92/93 DIONVAVIAIVG V1V38 | 9T8ZEE
SOGEBZSOOUXD| OS'T2 8TTP-8/006 VO SITADNY SOT GATE VO3N3ID V1 5S 00E! €bT dva1 VALNVAd 334109 pT AvaT VALNV3 334309) SIWIDH|210¢/e2/9 DIGNVAVVG VLvd8} 9T8ZEE
990P9ZSO0NXD| OO'TZ TOvb-0T206 V3 STIIH ATW3AR8 GATE VIINOW VINVS SE96 TIVO SIAVIGND STIANINdS INI SIAVIdND SITINTYAS| SUADIH| e102z/t2/9 DIGNVAVWVG VLv38 | 9T8ZEE
990V9ZSOOYUXD| ES'PT LOVE-9P006 VI STTAONY SOT GATS LASNNS M £ZSZ OOT SHd TV ANVdINIOD AUJDOUD SHd1¥u SIWODH| 210z/t2/9 JJGNVAVINVG Vivag|9TaZee
S90P9ZSOONXD| 22°St Trbe-8006 VD GOOMATION 153M GATE ANIA TO06| G18 ATU3Aad IGVNOWS1 dNOUD INVENVISIY JQVNOWST SIWIIH| 2t02/ST/9 DIQNVAVINVG ViVa8 | ST8ZEE
980b9¢S00HXD! SB'TZ €08T-8b006 VI GOOMATIOH 1S3M GAIG AlNaAaS £628 8b diva VL 8 NV3G 334409 8b 3V3T1 VALS NVAG 334409 SUNIIH|ZT0e/St/9 DIONVAVANVG Vivad|ST8ZEE
990b9ZS00UXD| 05° 8b006 V2 STZONV SOT GY SNUNG 3DUORD S GET 952 LOT Wav V1 dO ALID SAISON SO14O ALID dvd} 2t0z/pt/9 DIONVAVIVG Vivid | STaZee
990P9ZSOOHXD| ZT'OZ Thb2-87006 YD GOOMATIOH SAM GATE ATUIAIE TOOG| O19 ATH3Add SGVNOW31 dNOWD INVENVISSY JOVNOWST SUNIDH|2T0z/bt/9 DJONVAVWVG Viva /9TaZEe
990b9ZSOONXS| OTT €08T-8P006 VI GOOMATIOH [53M GA1a ATHIASE E628] 8b 491 V3L'8 NV3E 333409 8b JV3T VAL 8 NWA 334409 SIWIOK{ZTOZ/¥T/9 DJONVAVWVd Vivag|9TSZee
BETPSZSOOUXS| OTT 8895-26206 VD A3Y 14d WNINWW GATS NOLONIHSYM TEPET ETLS SHONGUVIS ETLS SHIN GUYS YNS|Zt0z/ET/9 DIGNVAVINVG Vivae |STaZeE
RETPICSOOUXD| Lesh Q8EE-TEZ06 VD FDINJA GAG AINNIX LOdaY EZOT ANVUNVISAY SAF INVENVLS3Y SAOL NIG} 2t02/2t/9 DIONVAVVG Vivae| 9TeZeE
BETYIZSOOUXD) EL'EZ ETT6T Vd VIR TAGVIIHd & WH3L ININI VIHdSQV1Hd 17 THd INAW3DVNVW 510 371 THd LNSWADYNV SLO NM j2T02/8/9 SIONVAVAVG Vilvad | ST8ZEE
BETPOZSOOUXD] BZ'9T €OST-O9S80 [N JTHASN.UL ¥ NOLUNOGUVH NOLNAYL SZET- TE8T SAVISTUASNLIL VSN dNOUD SsvdWOD. ud] 210Z/4/9 DIGNVAVWIVG Viva |ST8ZEe
BETP9ZSOOUXD| 69°29 ThLE-2bS80 [N NOLIINIYd 1S HSISING 62 Veda LIGSW 311 1SY HSIZINH VedaLiGaW NIG|710z/z/9 DIONVAVINVG Viva8|9TBZEE
BETPIZSOOUXD| 99'07 TTZ8-82006 VO SATADNV SOT GA18 LASNNS M 0629 COOMATIOH SN3AY9 HIGN3LINI dNOUD ANVUNVISAY dAL| Naletoz/2/o DIONVAVWYG Vivad|9TBZee
BETPOZSOOUXD| STITT 2085-St006 V2 S3TSDNV S01 AVM GIHOM T0Z XV1TLHIYON SHONGUVILS Iduly-XVT-LSOHSINH ANS|Z2TOz/zZ/9 DIGNVAVINVG V.ivad | 9TBLEE
BETPIZSOOUXD| OS°T 09580 IN STIASNILL NOLUNOGYVH NOLNAYL SZTT' T68T VINUVHd NASSNYf “d¥OD TWNOILLYNUALN! ANd uvd|@10z/9/9 DIGNVAVAVG V.ivaa|9TBZEE
BETP9ZSOOUXD| OO'OY COBE-PEOSS ZV XINJOHd GATA HOGYYH ANS 3 COOH] S31VS LOFuIG SAVMWUIV SN SAVMUIV SN a3dulv|@t0¢/9/9 SIONVAVINVG VLV38| ST8ZEE
BETPIZSOOUXD| OS'PZ BE980 [N ONIMA SAV NATO N 3-ZE9T QTIALID Fdbfid ITI ALD 31duNd Nid|ct0z/s/9 DIGNVAVINVG Wlvsa|STSZee
SOGE8ZSOOUXD} CO'OST SEC0G VO SAIZONY SOT ‘NG SACHS HINOS TIT HOLS 3138 JANUVIN SHRIYA 977 SUS THY SHOWD 51s|ctoz/e/9 O|GNVAVAVG V.LVa8|STSZEe
BETPOCSOOUXD} 00°C 8b006 VD STJDNV SOT GY SNHNG 2DY03S S GET 9S2 LOT AUVd W140 ALID SATZDNV SO14O ALID uvd|@toe/te/s DIONVAVINVG VLv3d{STSZee
TS9BPTSOOUXD| CO'STT SPOE-SE006 VO STISONV SOT AS GUE M OZZS| ANVUNVISIY ONIY NAH ON! SNAT TIAJIH|2t02/s7/s DJONVAVINVG V1LV38}STBLEE
TR9BYTSOOUXD| YT'S9 TOPe-OTZO6 VO STIIK ATU3AR8 CATE VOINOW VINVS TO96| STUH ATH3A38 3dVO ININVd “DNI ‘SLNAWLSIANI 03008 TINDSH|2t0c/et/s DIONVAVINVG V1V3d/STSZEe
TS98PTSOOUXS| OO' 8?006 V2 STAJDNV SO1 GY SNUNS IOUOID § GET 9SZ 107 AUVd V7dO ALID SATADNV SO1IO ALID ud] 2102/27/s DIGNVAVINVG Viva | ST8ZEg
TB9SPTSOOUXS| O9°SE9 bEOSB ZV XINJOHd “GATS YORUVH ANS *3 COOH SATVS JUV SAVMUIV SN “NI SAVMIY SN GUlY| 2t0¢/T2/s SIGNVAVINVG Viva | 9T8Zee
TS9BYTSOOUXD| O8'bT eT 2@2-SEO0G V2 SITIONV SOT GATE ODid M E828 9295 SHINGUVES 9795 SHINGUVIS SIWI9H | et0z/2t/s DJONVAVIVG Vlva8/ST8ZEe
T89BPTSOOUXD]| T3'te THT PS OW ALID SYSNVH 9966-Eb2 008 T DAS LSND AdISENO LD ISOWNOXXS TIECWNOXX] yv9(2T0z/st/s DIGNVAVINVG V.lva8/ST8Zce
TS98PTSOOUXD| ETS LUEZ-2TZ06 VO STH ATUBARS GATE JUIHSIIM 1296] OHSdOHD LIWNOUD AVZINSIYS OHSdOHD LSWENOD AVTINITYD TIWS3SH|2T02/9T/s DIONVAVIVG VlVa8 | 9TBZEE
T898PTSOONXD) 0S°0 8006 VD STJONV SOT GY SNUNS AOYOSD S GET 9SZ LOT XUVd VTC ALID S2TZ NV S07 50 ALIS] u¥d|2L0¢/ST/S DIGNVAVINVG Vivid |ST8Zec
TS9BYESCOUXS| STOT 9Tb2-2T006 VD SITSONV SOT GATE SYIHSTIM O60T, S8S0T SHINEHVIS NOLLWHOdYOD SHINeUVLS 9a [zt07/st/s DIONVAVINVG Vivad|9T8Zee
T898PTSOOUXS| 00°F 8006 VD SIJONY $O7 GY SNUNG JDUOTO S GET 9SZ LOT AYVd V14O ALID SATJDNY SO71AO ALID uvd|Zto2/st/s DIGNVAVIAVG Vivaa|9TBZEE
TS9BPTSOOUXS| SPST ZC9T-02006 VO SIIFDNV SO1IS CHE M OTPE ZE AUZDOUD SHd WY ANVdWOD AUZIOND SHd IV SIWI9H|2T0¢/st/s DIONVAVIVG VLV36|9T8ZEg
T8IBPTSOOUXD| 9°SB STO006 VO SATZONV S01 1S HL6 M009 NMOLNMO 34¥2 ININVd SLNAWIS3ANI VLINOTS VINVS| TIWI9DH|2t02/ST/S SIGNVAVINVG Vivaa|9T8ZEe
2@SSTETSOOUXS| 9Z°8T 872006 VO SJTZDNY SOT GATE LASNNS 0EL9 T6b9 Giv 311 T6b9 GI¥ ALY 609] 2t02¢/2T/S DIONVAVV Vivad | 9TBZEE
2OSTTTSOONXD| 2T°TZ 8b006 VO SAISONY SO1 GATE ATHAAI O6¢3| €056# SAD YOANVO SAYOLS DNA SONOT SIWIIH|Zt02/0T/S DIGNVAWWIVG V.Llvaa|9T8Zeg
ZOSTETSOONXD| S2°2T BLTS-90006 VI GOOMATIOH LS3M ZGT 31S GAIA VIINOW VINVS TO6Z TSS SHINGYVLS ZTS9 SHINGUWLS| SUAIDH|2t02/0T/s SIANVAVIAVG VlV38|STSZee
ESTLPTSOONXD| Ob'998'T SO¢2-TTZ06 VO STUIH ATU3ZARd GATE VOINSID V1N PT THES ONY HVE SNISS VIOTI AGVINVHD: CWIDH}2707/6/S OIGNVAVINVG VivaEl9TBZee
ZOSTTTSOONXD) 70°6 STGZ-TTZO6 VO STIIH ATU3ASG OZT # GATS SMIHSTIM Th98 GSLIWIINA XY OT] ‘G3LIWIINN XY SIWIDH|2T07/2/S JIONVAVIAVG V1Va8|9TSZee
ZOSTETTSOOUXD| 9E"P9 9685-94006 VI GOOMATION 1S3M GATa VIINOW VINVS OOTZ Peat LAIOUVL P8Bt LOY XLO(ZT0Z/2/S SIGNVAVWVG VLvas | STRZEE
ZOSTTTSOOUXD| OO'Pe 6025-22006 VD SATADNV SO7 GATE LISNNS M 60ZS AUBAVE NOS 8 YSHLVS NVIUILUSL TIAWYS SIWI3H{2T02/T/S DJONVAVIANVG V1V38 | 9T8ZEE
COSTTTSOOUXD| 95°2T PO8T-B006 VD GOOMATION 153M GAIG ATHRARG 00Z8 UVIS UL9 GAIN IWNIS SHVGID IT SNOILVHadO OXICOS| uv¥d|2toz/t/s DIGNVAVAVG V1v38 | STSZEE
ZOSTETSOOUXD| O2°ST 8b006 V3 SATAONY SOT LS GUE M SE98 MSZE 3.1INS. SHOVNS S.OOfOOF WIM NIHS OOF] SINDIH[2t0Z/T/S DIGNVAVWG Vivad | STaZee
COSTETSOOUXS) LoL 6045-22006 V3 SATIONV SOT GATE LASNNS M 6025 AWaNV@ NOS 8 WAHL V4 NVIHSLUAL JAWS SIWI9H|2T02/T/S DIGNVAVINVG Vivdd|STBZEE
EELIOTSOOUXD} S6°OST GOEE-8P006 VD S2TIDNV S01 CATE VOANSID VIN T2T 7 N3HOLN VZZid AIIVS @ N3HOLIN WZZid INV TIADSH|2102/22/7 DIGNVAVINVG Vivid |STBZEE
EELIOLSOOUXD] SZ'¥Z 8¥006 VD SATSDNV SOT GUVAIINOG ATYIAIA OOL8 YV1S HL GA IWNIS SHVGA3 371 SNOILVH3dO OXaGOS DAW | 2102/ve/h DIONVAVIAVG V.ivaa | ST8Zee
EELIOTSOONXD| Lp'eST STL2-TP8Z6 VO JAOHD NIQUVD SAV NVIAVHD ThebZ WINOD YANUYM SWILONI J18V> YANYYM SIAL (Hd ]Z102/22/b DIONVAVING VLva6|ST8Zee
EELIOTSOOUXO| OO'T B8P006 VI SIJZDNV SO1 GY SNHNE 39YUOIS S GET 9S2 LOT AUVd VIdO ALD SAIZONV SOTSO ALID dvd |Zt0z/0z/7 DIGNVAVNVG VlV3a|9TSZEe
SEBTSOSOOUXD| OT'ET 8b006 V2 STTAONV SOT GUVATINOE AIWIAIS 0028 YVIS UL G3 INNIS SYVG39 ITI SNOLLWY3dO OXIaOS uvd|etoz/2t/7 DIANVAVINVG Vlvsa|ST8Zec
SEBTSOSOOUXD| 26°s @6TZ-9E005 V3 SZIFONV SOT GATE ATUIASE S282 YanOUs T29Ve SHLITISTIOVE SATII SIWIDH] ZtOL/ET/y SIANVAVIAVG V1V38|9TSZEE
#VaL-uyel[ (nD pala) sSaippy queqriayy - eq pleD aWeN JUeYUAaY - eyed pleD apo 3yeq] apo snyeys| pie uo Jaquinn
qunowy asuadxg uonsesuely{ uopsesuety | awen-eleg peo] - aadojdwy
asuad: ~gsuadxy pep - 3189

 

 

 

 

 

 

 

 

 

 

 

 
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P96bZ8b00NXD| SS*2T TOSE-TTZ06 VO STIIK AlN3AIE GATE VOINSID VIS Sbz BSZS# SHONGUVIS SSZSH# SHONGUVIS SIWIIH| 2T02/6/T SJONVAVIAVG Vivad | ST8Zee
LEEGBLPOOUXS| Ge'L>T 80T?-8b006 V2 SA'IZDNV SO7 GA18 SLNADIA NVS S 00P| saa HVHS Svaav HVHS TINIH| Tt0¢/9t/2t SIONVAVIAG Vivaa |ST8Zee
SG6Z9EPSOOUXD| ¥O'9S 0082-20880 [N YaLVMS9CINa AVM SNOWWOS OOP L9# YOIAHDS 8 ADIAODIW ADIWHDS °3 NANYOIIN Nig|2toz/+t/8 SIONVAVIVG Vilvaa|ST8ZEe
LBEGSLHOONXD| O0'vZ 8006 VJ GOOMATIOH 154M 8 IdV UG TIVMS N ToT GayVE AWAINA BaTII LaYVONVW SUWIIH| T0e/Tz/2T DIONVAVINVG VLV3d/STaZEE
SbETSPSOOUXD| 9E°EZ bO@SZ XL SVTIVG SAV THANSVH HLYON TTZe SW YAN JV Id ALD AINOAYOLS N3A313-2 INI N3AR13-2| SIWIIH|2t02/0T/8 DONVAVVG Vivid | ST8Zee
ZOZEPSPOOUXD| SB'OT 7O9P-OTZ06 VO STTIH ATHIAIG UG ATUSARG N Szr S3adOD SHINGUVIS SOS ATHIAIA SHINGHVIS SIWIDH|TTO2/E/TT DIONVAVINYG Viva | ST8ZEe
LT86TESOOUXD) S6'7e 6052-82006 V2 SATSONV SO1GAI8 LASNNS M L504 LLSNNS ZOPS SHONEUVIS LISNNS ZObS SHONEYVLS STNIDH]2T0Z/Et/Z SIONVAVIAVG VLVa8 |ST8ZEE
GYOSLESCOUXD| OO'OST QEOOS VO S3TSONV SOT “UG SAUD HINOS TIT HOLS J13S LAXUV SHAW O77 SLs THHG AYOW UID D1is|2t0z/€E/8 DIGNVAVINVG Vivaa | STSZee
ZOZ6PSPOOUXD| 26°95 Trb2-8b006 VD GOOMATIOH 154M GATE ATHSIARE TO06 Q1d ATHU3A3G SOVNOWAT dNOUD LNVUNV.LSIY JAVNOW3T THAIN] TTO2/e/TE SIONVAVIVG Vivag |STaZee
PIGHLEPOOUXD| OO'PZ 6025-22006 V3 SJIADNY SO1 GA18 LASNAS M 60ZS AUANVa NOS USHIV4 NVINSLYAL TaAWYS SIWIDH(ZtO2/b2/E OIGNVAVAVG Vivad |ST8Zee
POGPLEPOOUXD| 98°TZ 8006 VO SATADNV SOT GUYAFINOE ATYIAIS 008 UVLS UL QA IYNIS SYV033 D711 SNOLLYuadO OX3GOS| SIWIDH| 2102/0t/E DIGNVAVINVG Vivid |STBZEe
SEZ9EPSOONXD| 85°05 9006 VI GOOMATION 1SAM GA1S LISNNS B0PL TANVUNV1SaY JHGVdWOO 14 LNVUNVISIY JUAVdINOD 13 Nla|zt0¢/v2/8 SIGNVAVINVG Viv3a|ST8Zee
SETP9ZSOOUXD| E6°ET S006 VO STISONY SOT AVM GT1HOM OOT-Xv7 POT VINYOJITVO JO SMIUD HOT VINHOSIIVS JO SM3YD Nia|zto7/b/9 SIGNVAVIAVG Vivaa |STBLEE
E9GEZPSOOUXD| OST £18b-0T206 VO STIIH ATH3A38 OFT WY YG GUOIXaY N SS SYALIIN ONINYWd Hd STIIH ATN3ARE JO ALD uvd|2t0z/0T/6 SLONVAVIAVG Vivid |[ST8Zee
SETP9ZSCOUXD| OT'b O9S80 fN ATIASNLLL NOLUMOGUVH NOINSYL SZTT T68T VIAN VHd NASSNVI ‘ddOD IVNOILYNYSLNI Hid uvd|Zt0z/s/9 SIGNVAVINVG Vivad [STSZEE
GYOSZESOOUXD| SOP TOEE-TT205 VO STIIH AIIAIB GATE VOANSIO Vis SPZ SSZ5H SHOINGYVLS 8SZSH SHINGUVLS SIWIDH| 2T02/0E/Z SIONVAVIN'YG Viv /ST8ZEe
E96ELPSOOUXD| E2'S9 EZET-BE006 VO GOOMATIOH IS3M SAV Wade V1 N STOT €6€ 03 ANG 1539 di SAXOIS ANS 1S38 d09|2102/ST/6 S[ONVAVINVG Viva lotecee
EIGELPSOOUXD| 00°C 2T8¥-OTZ06 VO STHH ATUSA3G OET WY YO GYOAXaY N SSH] SUBLIW ONIYVd Hd STITH ATH3A3g SO ALID Uvd{Zt0z/ET/6 DIONVAVIAG Vivad (ST8Zee
ESGELbSOOUXD| BO°CET EQE-TEZOG VO STIIH ATUAASE GATE NOSLUAEOU S Eby] ONIUBLVD OGAUsIV INI ONIUZLVD OGINI IV TWIdH|2102/2t/6 SIONVAVAWG ViVv38 | ST8ZEE
ESGELPSOOUXS| OE'09 TOEt-0T206 V3 STIIH ATHIAR@ YO GUOIGIS N 9Sh RINAWS LHAAWS DAW | 2T0¢/Tt/6 SIQNVAVINVG VLIWa8 | STBLEE
E9GELPSOOUXS| 80°99 THTP9 OW ALID SVSNVA 9966-Eb7 008 T DAS snd FCISLNO LD TBOWNOXXS HEGWNOXXS uVvD|Z10z/0T/6 SJGNVAVIAVG Vivad [STBZEE
EQGELPSOOUXD| Lt'Bt LOPE-9P006 YO SFISDNV SOT GATS LASNNS MA L7SZ GOT SHd1VH ANVdINOD ANaOUD SHd VY SINIDH | 2102/0t/6 S[GNVAVINVG Vivad | 9TBZEE
E96EZPSOCUXD| OO'OST SE006 VO SATSONV SOTHG SAOUD HLNOS TIT HOLS d74S LANYVIN SHBWYVs ITI ALIS THYG AYOWTIS 91s|z102/s/6 SIGNVAVINYG Viv3d|ST8ZeE
SbETSPSOOUXD| 00°F 87006 VO STADNY SO] OY SNUNA IOYORD Ss GET 9SZ 101 AuVd ¥1JO ALID STTAONY SOT dO ALID ud] 2t0z/TE/8 JIONVAVNYG Vivs8|STaZEe
QPETSPSOOUXD) Sv'ZTT EO9E-TTZ06 VO STIIH ATH3AIS QAI NOSLUAGO4 S Eby ONIWSLVD OG3Us1Y INI ONIU2LVD Odaus IY TIWIIH | 2102/TE/8 S[GNVAVIAVG Vivsa | ST8ZE€
SG6Z9EPSOOUXD| 68'6b 82S€-92880 (N DUNGHINVYE ZZ AVMHOIH SN THTe DUNGHINVUS 3SNOH LLVAH DT] NOUS STSLOH 193735 ‘WH 2T02/b2/8 S[GNVAVIAVG ViVAd | STBLEE
S6ZSEVSOOUXD] S6'bT YTTZO IN HUVM3N 3 ~ WNIWYSL WN) LOduiY SYVMaN SMaN NOSGNH ALD 18VM3N-N3N-NOSGNH -NS|Z2T0z/E2/8 SIGNVAVIVG Vivag| ST8ZEe
S6ZSEPSOOUXD| Gzzz TOTZO FN AUVMVIN LUOduly IWNOLLVNYSLNI MaN YANIG SAGAY ITI 7-3 UMA SABNY NN1|2T0z/€2/8 SIGNVAVIAVG Viva8 | STBLEE
SPETSPSOOUXS| EO°EST STTC-TP876 VO SAQUD NSGUV9 FAV NVAdVHD Trp WIWO3 YaNuvM SLL NI 318 HANEY SLL IHd | 2t0¢/2z/8 DIONVAVINVG V1VA8/STBLEE
SECSEPSOOUXD| SO'TZ 92880 [N STHAWAWOS 82a Fie SUNGHINVUE © SaddOHS' O86 SHONGUVLS NOLLVEOdHOS SHINSYVLS yua|2t0%/2z7/8 S[GNVAVIAVG Viva8 | 9TBLEE
SEZIEVSOONXD| 12° 69880 [IN NVLIVe HLNOS 20z 3LY O00T! GESEZ # dO FT VSN dNOYD Ss¥dWOD Nni|zt0z/Tz/8 SIONVAVWYO VLvsd | ST8ZEE
S6Z9EPSOOYXD| 00°S9 TTSZ-TOTTT AN ALID GNVISI SNOT SAV HLOp ZTOE NOILVYOdYOD ONISW3 ATIVL NOILVHOdHOD ONISWS1 ATIVE! Nia|ztoz/0z/8 DIONVAVIAVG VLV38 | ST8ZEE
SEZSEPSOOUXO| ZEIT TOZS-TTOOE AN HHOA M3N SAV HL8 TTT 33dIOD SHINGYVLS TTZ2# SHONGUVLS ¥NS|2T0z/6T/8 SIONVAVVG Vivad | ST8ZEE
SEZSEVSOONXD| CT'OT STCTT AN NATHOOUS SNNSAV CIVNOGOW 828-928 TE TZOT-DNi dNOUD IXVL DAN T TZOT-INI dNO¥D IXVL DAN INI dNOUD IXV.L IAN ANYD| 2102/67/28 DIGNVAVAVG Viv3d | 9T8ZEe
S6ZBEYSOONXD} ZZ'T9 S00Z-TTOOT AN HHOA MIN JAW HIG SZ) AN NVAVOGNS d1 ‘AN NYIVGGNe Nia] 2toz/6t/a DIONVAVWVG Viv3d|9T8Zee
SECSEVSOOUXD) LETH S0ET-YTOOT AN XYOA M3N 1S NOLONIHSYM 8b8 AYOA MAN GYVONVLS HL 11 HOLVuadO GYVaNVLS Day NO3|Zt0z/6T/8 DIGNVAVINVG Vivaa | 9TBZEE
SG6ZIEPSOOEXD}) 90'E €02T-PTOOT AN AHOA MIN SAV HL6 6 SHS¥d 91 SALVIDOSSY GTAIdHLIWS| NN1|2t02/8T/8 DIONVAVWYG Vivad|9T8ZEE
S6ZIEPSOOUXD| 00'S9 SO0Z-TTOOT AN HHOA MAN SAV H16 SZ) AN N¥AVGdN d1‘AN Nvvaane Nig|2toz/Zt/8 DIGNVAVIAVG V1V38 | STSZEE
S6Z9EPSOOUXD| OO'ET TOG8C [N ADIMSNNUE MAN SLAdULS NVGIY 8 HINTS AOIMSNNYe MIN AUSNVEL IN LISNVUL IN YN¥O|2T0Z/ZT/8 DIONVAVIVO Wivad|ST8Zee
SEC9EPSOOUXD| 86°C 69880 [N NVLIYWE HLNOS ZOZ 314 OOOT GESEZ # dINO I VSN dNOYD SsSvdWOD Noi|et0z/9T/8 DIONVAVVG VV | ST8ZEE
S6ZSEPSOOUXS| EEG S9880 IN NVLINVY HLNOS 20z 314 OOOT SESEZ # dO If VSN dNOUS Ss¥dWOD NA1|2TOz/ST/8 SIGNVAVINVG V1v38|ST8SZEe
SEZSEPSOONXS| 80°0b 0082-20880 IN YALYVMISCIE AVM SNOWHIOD 004 L9# ROWWHOS 8 ADINYOIW ASINHDS 9 AHWYODIW Nia|ztoz/st/s DIONVAVAVG V1v3a | 9T8ZEE
S6C9EPSCOUXD| OT'S 69880 IN NVLINVH HENOS ZOZ 3L4 O0OT GESEZ # GINO If VSN dNOUD Ss¥dWOD NN1|210z/bT/8 JIGNVAVIAVG Vi1Va8 | STBLEE
S6ZSEPSOOUXS| ZO'ZT 2085-Sb006 VO SITSDNV SO1 AVM GIHOM 602 AYOdtiv STIZDNY SOT ONI SIDIAU3S ANO VO No] et0z/et/8 DJONVAVIAVG VLvaa | STBLEE
S6Z9EPSCOUXD} TO'EL S6SE-94880 [N SUNGHINVYE Zz AVMHOIH SN OSTE Zid SNINYNG GOOM SONV4SLS 371 VZZld N3AO YONA D3W|2T02/eT/8 SIGNVAVINVG Viva |STSZee
S629EPSOONXD| 00°09 89€2-ZO0L2 XL NOISNOH 133H1S NOSH3443f 009 INI-TOH did SANNEIY G3LINN INI SANITHIY G3LINN Baduly|2T02/et/8 DIGNVAVWVG Viva | STBZEe
SbETSPSOOUXD) SB'cy OTZO6 VO STIIH ATHSAI8 GATE VOINOW VLNVS T096 STIIH ATU3A39 34 ININVd ‘ONT ‘SLNAWLS3ANI O300u TIWI9H[2t0z/oT/s SIGNVAVIAVG V.iV3a | ST8<EE
SbETBPSOONXS| £0°29 €08T-87006 VI GOOMATION 183M GAId ATUIAIE TOL8 ATHAG/ITA0 SNOW S,AN3T INI TAG SNOWYS S,ABuaT| TINIDH]Z10¢/0T/8 DIGNVAVIAVG Vivad |STBZEE
SbETSPSOOUXD| SO'TE TOZT-SEO0G VO SATADNV SO1 GATS O3Id M T¥S6 PET d¥a7 VaL/NVad 334409 PET 4V31 V3L/NV38 333403 STWI9H{2102/01/8 DIONVAVIAVG VLvd8 | STSZEE
S¥ETBPSCOUXS| €6°8T bOeS2 XL SVTIVG SAV TISASVH HAYON TT2Z 15a H3IN3D JIVId ALID AINOSYOIS N3AI13-2 INI NBAITA-£ STWD9H|2102/6/8 DIGNVAVIAVG Viv38|STSZee
SPETSPSOOUXD| LECT TOEE-SEONE VD SAISON SOT GATE ODId M 6288 NI LAYUVIN HAHSOX SSVIT13 INI LIXUVW Y3SHSON Ssv¥m3 TIWI9H|2102/8/8 DIONVAVAVG ViVvad | ST8ZEe
SPETRPSOOUXD| O8' TT bO8T-8F006 VI GCOOMATION 1S3M GAT18 ATHIARS 0028 UVLS HLS AW IVNIS SYVG33 ITI SNOIMLVuadO OXIGOS u¥d| 2t0z/Z/8 DIONVAVIAVG Vivad |ST8ZEe
QVETBPSOOUXS| Ze'cET 780E-8856 VI NOLNVSW31d HO GOOMASOH Oeyy; Ovd SIL Lely 371 ALISO Dei ‘yap (2T0z/2/8 DIGNVAVINVG Viva |SE8ZEe
SPETSPSOOUXO} 26"bZ S06T-87006 V2 COOMATIOH LS3M GATS VD3N319 VIN TED, TT HSYM YD TVAOY 371 HSV HYD WAON HLOWOD|2T02%/2/8 DIONVAVIAVG Vlvag | STSZEE
6P9SZESOOHXD| 86'S LOZE-8P006 VO SSTJDNY SO1GA1 NOSLYIGOU S SbT 33AND 1003 °2 ANIM ANId 33AND 5aw|zt0z/€/e DIONVAVINVG Vivad |ST8ZEE
GeOSZESOOUXD) O0°OT 8P006 VO STTADNY SO1 GATS ATHSAR8 0028) ANID TWOIGAW IVNIS SYVG4D OND Vd WAISAS OOdWIY uvd|2t0z/2/8 D/GNVAVIAVG Vivag |9T8ZEE
ETSETESOOUXD) TES SECOG VO SATJONY SO71S GUE MO9E9 1996 SAD HOVAE ATAldVD 3°17 ‘SAD HOW38 G1alsyvS dO3|Zt0z/sz/z SIGNVAVINVG Viva | STBZEE
LT8ETESCOUXD| 76'0e COEb-OTZO6 VD STUIH ATHIAIG UC GHOSAIE N ESy Tops div ALY T9bs CIV SLY SIWIDH|2T07/Ez/Z SDIONVAVINVG Viva |9TaZee
TEZLEESOOUXD| SO’GES £0009 II 3AOUD 473 GY NINDNODW 3 COZT SANTIUIY G3LINN INI ‘SANITUIY G3LING Gay | ct0z/t27/e DIGNVAVWIVG Viv3d |STBZEE
#VAL- we] (inp parig) ssauppy JUeyoayy - eq pley BWEN JUEYDJAYY ~ eVeq pseD apod ajeq] apopsmers peg uo Jaquinn
qunowy asuadxy uoysesuest| uooesues,| atweN-e¥ed pleg} - aaAojdug
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TS9BPTSOOUXD| OO'T 8006 VO STASNV SO1 GH SNUNE JDYOID S GET 92 LO} AUWd V740 ALID SATSONV SOT AO ALID uvd|ZFOz/ST/s SJONVAVIAVG Viva8 | 9T8ZEe
ZOZEPSPOOUXD| ch'Z2 £9S€-20806 VI HIWAS SNOT SAV JONVHO 107 SNIVALVO J3HD Wi ONTWSLV d3H2 AT SaW} TLOe/TT/te SDIONVAVINGG Vlv4d|9T8ZE€
980P9ZS00UX9} O5°0 8b006 VO STADNV SO] GY SNUNG IDUOIS S GET 9S2 LOT Wud VIO ALID SJIZDNV $0740 ALID uvd!2T02/22/9 SIONVAVIANVG VLV3e| 9TSZeE
LT86TESOOUXD| OO'6T SbSE-¥S206 V> HIVIE VSOWYIH GNVYLS 3HL COST ASNOH HOV VSOWYSH DTI SSMOH HIVIS DtdloVd UWHIZTOC/BT/L S{ONVAVIVG Viva |9T8ZEe
990P97SO0NXD| OO'He OTZO6 WO STTIH AIUSARE VOINOW VINVS 311 TE96 TOT WV3HD 331 SATANIYdS INI SAAVIdND SATANIYdS SIWI9H | 2102/t2/9 SIONVAVINVG W138 /9T8ZEE
EQGELPSOOUXD| Gi'ZZ £TEZ-ZTZ06 VO STUH ATU3AIG GATE SHIHSIM TZ96] OHSdOHD L3WNOUD sVaINITYD OHSdOHD LAINYNOS Ava IN3IuS TIWDDH| 2102/9/6 O/GNVAVINVG V.Lva8 | 9T8ZEE
BETH9ZSOONXO} O0°2T 229S-SPO06 VD SIIADNV SO} GATS AUNLNAD M TTZS| ONINU Vd XVI NOLTIH OND Yd XV1 NOLTIH uvd|2T0z/2t/9 DIGNVAVIAVG VLvad|STBZEe
SEBTSOSOOUXD) 08'S LSEE-9P006 VO SITADNV SOT GATE LISNNS M 6T6Z €9 JV Val 8 NV3@ 334409 €5 VAT VAL 8 NV3d 334409 SIWIDH[Z102/6/¥ DIGNVAVIAVG V.va8 | 9T8ZEE
ZOZEP9POOUXD] SEAT BTTt-8/006 YO STTAONV SOT GATE VOANID V7 S OOE €bT AVS VALNVAS 354403 EbT SWAT VILNVA9 333409! SIWD3H|tt0z/2/TT JJONVAVIVG Vlvda|9TaZce
S6ZSEPSOOUXD| O4'OT 92880 {N ATUAYAINOS 823 31Y SUNSHONVEE © SaddOHS O8b6 SHINAYVIS NOILVHOdHO) SHDNaUVIS NS|2t0¢/e¢/e JIGONVAVINVG Vivaa|9TSZee
990P9ZSOOUXD| GP'Z8 OT206 VO STHH ATUIARd GATE VOINOW VINVS T096 ST1IH ATH3A38 34V0 ININVd “DNI ‘SLNZWI1S3ANI O300U TIWI9H|2102/T2/9 SIGNVAVINVG Viva8|9T8ZEE
S90b9ZS00UXD| SB’esT STTC-TP826 YO SAOUD NIGHV9 JAY NVIWVHO Tbe WIAOD YUNUVM SIL NI 31d V9 Y3NYYM SAILL iHd| ct0¢/2z/9 DIONVAVINVG Vivaa|9T8ZEE
ZLTYEBbOOUXS| ZT°L2ZT 2067-87006 VI GOOMATIOH 1S3M GATd VOINSID VIN TY OHAM/ATIVG GOOd Twa" NI di TIWSSH|2102/2t/% DIGNVAVWYVO Viva |STaZee
B8ETPSZSOOUXD} 00'6 €0ST-O9S80 IN ATHASNLUL Y NOLUNOGUVH NOLNIML SZTT T68E JAVIATHASNLIL VSN dNOUD SSWdWOD ANS|@t0z/9/9 DJGNVAVWIYG VLVv3d|9TS8ZEe
SEZ9EYSOOUXD) STG 69880 [N NVLIBVY HiNOS 202 3LY COOT GESET # dWO IT VSN dNOUD SsvdWOD Nni|210z/02z/28 DIONVAVINVG Viva | ST8Zee
TLTPSBPOOUXS| OT'ROT vO8E-SPZ06 VI OGNNDAS 73 IS NIV TSz) NOH N3X3IH2 aSIHONVUd NOFIG NAXSIHD TIWDIH| 2t0¢/9t/2 DIGNVAVINVG Viva] 9T8ZEe
SVETSPSOOUXD| SS'bT ZOEP-OTZ06 YO STII AlU3Ad8 Hd GUOIG38 N Eot T9dS lv ALY Tops Civ aLly SINI9H|2102/6z/8 SIGNVAVINYG Vlvaa|STaZee
SVETSPSOOYUXD| 05°0 8b005 V3 STSDNV SOT GY SNUNG JDYORO S GET 9S2 LOT WUVd V14dO ALID STTAONY SOT FO ALID uvd|2T07/bz/8 DIGNVAVIVG Vivas|STaZee
T898PTSOOUXS| CO? TO9T6 VD SITZDNY SOT GATE VITONDYW 62ZTT SNAYd OSYSLIW ALID Vt SFTIDNV SOT IO ALD dvd |Zt0¢/st/s DIONVAVINVG ViV39|9T8ZEE
990b97S00UXD| 96'S STZ¢-9P006 V2 SATADNV SO1 GATE J3SNNS M OE9Z| ST6S# 351440 X3034 INI IDI3IO XIGIA dO) 2102/81 /3 SIGNVAVWYG Vivaa|STeZec
ZLTP8BPOOUXD| OO'OST 9E006 V2 SATADNV SO7 ‘Yd ZAOUD HINOS TIT YOIS aS LAV SHAWuV4 OTT SIS Td SYOWTIO 51s|Z0z/t/z DIONVAVIVG Viv3a|STSZEE
LBEGBLPOOUXD} Th'bz 6052-82006 V) STIZDNV SO1 CATA LISNNS M ZS02| LASNNAS ZOPS SHINBUVLS LSSNNS ZOPS SHDNAYV_IS| SIWIIH| T102/2z/2zT DIONVAVWVG ViLVa8/9T8ZEe
6ETLE9PCOHXD] O0'OT SEPT YO ONION COT 31S 8ZGST BIAS ONINUVd ALITY OL AUVd NMOL ud |TtOe/2/2t DJONVAVINVG ViVa8 |9TSZEe
EELIOTSCOUXD| 00'T 8/006 V2 STZONV SOT CY SNYNE JDYOID S GET 9S2 107 AuVd W140 ALID STIZONV $01 40 ALID Ud] 2T02/6T/¢ DIONVAVINWG Viva |STBLEE
SEZDEPSOOUXD| HZ°LT ZTOOT AN XYOA MAN LS NOLSNOH M ZET AITSSIWOTI Mls NMOUd yaa] etoz/st/8 DIONVAVINVG Viv38|9T8ZEE
PSEPLEPOOUXD| S2°0 8006 VO STADNV SOT GY SNUNG IDYOIO S GET 952 101 HuVd V14d0 ALID S3I39NV SOT AO ALID Yvd]Z2T02/0/T DIONVAVVG VlvaaloTaZee
SOGEBZSOOUXD| LZ'OTT OTZO6 VI STUH ATHIARS GATS VOINOW VINVS TO96 STUH ATH3A34 339 ININVd “ONE ‘SLNAWLSAANI O3G0¥ TWH] 2102/22/9 DJONVAVNVG Viva [STEcZec
990%9ZS00UX9| GP'EIT OF206 VO STH ATH3AZ9 GATE VOINOI VINVS TO96 STIIH ATH3A38 339 ININVd “NI ‘SENSWISIANI O3GO8 THADIH | 2107/02/9 DIONVAVIAVG Vivad |STBZEE
EELIOTSOONXD] Ob'OZ 8TTb-8h006 VI SATION SOT GATE VO3NAID V1S 00E: Et AVI] V2LNVI8 3343409 E¢Tt Ava VALNVS8 334403) STANIDH|2T0Z/02e/r DIGNVAVINVG Viva | STSZee
EELSOLSOOUXD| SZ°E 8b006 V2 STAZDNV SO1 G8 SNUNG 3DY0ad S GET 9S¢ LOT XUVd ¥1d0 ALID STTADNV S01 40 ALID uvd|ctoz/se/¢ DIONVAVAVG Vivid |ST8Zee
LBEGELPOOUXD| O2°Or ZOEZ-SEODEG YO SITSDNY SOT GATE ODid M 2298! Odld AUSAVE ZLUVMHOS ‘ONT VAS STADDH| Tt0e/pt/et DIONVAVINVG Vivad | 9TSZee
LTEBELESOOUXD| 76’6y OTZO6 VO STIIH ATH3A38 GAT VOINOW VINVS TO96; STUH ATU3AR9 FAV ININVd ‘ONI ‘SENSS3ANI O300U TIWIDH [2T02/#e/2 DIONVAVINVG Viv36/9TSZEE
TSS8PTSOOUXD| OST £2088 ZW XINJOHd £0-T0-b2 JW SS 315 HO GN3YH3E M Tobe 333 Dil SS3HdX3 NVOIUSW 334 J SSaudX3 NVA, 0343|2t0z/TZ/s DIGNVAVINVG Viva8|9TSZEE
SOGEBZSOOYUXD| 02'6 ZO9b-OT206 VI STH ATYSAR8 UG ATMA N 827 344309 SHINGUVLS SOS ATHIAIG SHONGUVLS SIWIDH|Z107/9Z/9 DIONVAVIAVG Viva | 9T8ZEE
E9GELPSOONXD]| 00°02 206T-8h006 V2 GOOMATION SIM GA1d VOINSID VIN PTH! OHAM/Allvd GOOs Iv3¥ INI sy SWISH [210Z/01/6 SIONVAVINVG VLV38 | 9T8ZEE
EELIOLSOOUXD| GETZ BITb-8h006 VO STTSDNV SOT GATE VOINAID V15 O0€ Ep 3V31 VALNV3S 334409 ET VAI V2LNV38 333409) SIWODH|2102/6t/7 SIGNVAVIAVG Viva8 /9T8ZEE
SGZSEbSOOUXS| 6T°ZT S88E-VTOOT AN HHOA MN Z INYS IS Lb MEZT NOLVYaNaS 3DINt NOLLVHIN39 3DINT] INS|Zt0z/0z/8 SIONVAVVd Vlvaa] 9T8ZEe
SEBTSOSCONXD| COT 8¥006 V3 STZDNV SOT OY SNUNE ADYOTD S GET 9SZ 101 HYVd V1dO ALID S3TJDNY SO1 40 ALID uvd|ZEOZ/TT/y SIQNVAVINVG Vivaa | 9T8ZEE
GLBLTSPOONXD| Zp'EST STIZ-TH876 V3 JAOUD N3GHV9 SAV NVINVH9 Tred WWO3 UaNUVM aWIL NI S182 YaNEVM SIL IHd] 2t0z/ee/t D/GNVAVINVG Viv38|9T8ZEE
TS9BPTSOOUXD| SZ°OT PESb-OTZ06 V3 STIIH ATU2ARG TT 31S HO OFGOU N Te] SILUY SIMASSiLVd V1 CIHVN SLLUY AIN3SSLEVd V1 CIHVN STADIH|2t0¢/22/s DIGNVAVINVG Vlv3d|STBZEE
LBEGBLPOOUXD| 00'627 POBE-SPZ06 VI OANNDAS 13 1S NIV TSZ NOt N3ADIHD ASIHDNVUd NOMG NaxDIHD TINDDH| TL0¢/te/et SIGNVAVAIVG VLv38 | 9TBZEE
BETPSTSOOUXD| OO'CT €295-SPO06 VD SSTJONV SO71 GATS AUNLNAD M TTZS ONDNUVd X¥1 NOLUH ONINYVd XV1 NOLTIH dvd] Zt0%/€T/9 SIGNVAVIAVG Viva8 | 9TBZEE
TLTPBBHOOUXD| Pb'to OEG2-TTZO6 YO STIIH AIH32AR OOT # GATE SUIHSTIM 098 AdV2 S USGNVX31V INI YDSLHOU THAIS} 2t02/TE/T DIONVAVIAVG W1Wa8|ST8Zee
ZLTB8P00UXD| 06'ZT POE?-TTZ206 VD STIIH ATH3AR9 GATE SHIHSIIM 82E8. v8 dV31 V3L/NV38 33dJ09 $8 V3 V3L/NV39 333309 STWO9H|2102/2/2 SIGNVAVINVG V1va8|STBZEE
S90P9ZSQOUXD| 86'TZ ZOvE-9P006 VD SATJONY SOT GATE LASNNS M 2782: OOT SHd 1V¥ ANVdINOD AUZD0ND SHdTVU SIWIIH| 2102/te/9 SJGNVAVIAVG V.Lv38|9T8ZEE
TLTVBBPOOUXD| 9E'6C CTTY-Bb006 VD SATAN SO1IS GUE M028: SHL'VA-VAVZI NOLLYHOd8OD € OASHIVL SIWIDH |2t0Z/62/Z DIGNVAVIAVG Vivid |ST8Zee
SEBTSOSOOUXD| £2°99T EfSb-OTZ06 VO STHIH ATU3AZG UC ATUSARS N SEP STIIH ATUSARE SAXYVHS NISTUH ATUSAIG SANEWHS TIWIDH|(2702/6/7 DIONVAVWYG V1va8 |STBZEE
SEZSEYSOOUXD| 00'PZ S222-92880 (N ITIAYAWOS LS NIVIN M 86 INI dSNVUL NVOHSAIV TTY ONI dSNVUL NVOIUZINY TI! ANYD|2T02/6t/8 J/ONVAVIVG ViV3a|ST8Zee
ELBEG8ZPO0UXD| SE'LT 6082-82006 VD SJIJONV SOT GATS LISNNS M L504 LASNNS ZObS SHINGUVES JASNNS ZOPS SHONGUVLS| SUINDIH| Tt02/2z/2T DIGNVAVWVG Vivid |ST8Zeg
PO6PLEPOOUXD| SE'SET vOBE-SPZ06 YO OGNNDSS 73 LS NIV TSZ| NOMG N3XIKD ASIHINVES NOFIO NaXDIHD TIW39H |[2102/6t/T DIGNVAVWVG Viva lstecee
E9GELPSOOUXD| SS'LT £08T-8P006 VD GOOMATION LSM GAT AIUSAIG £628 8b dvd1 VAL 9 NV30 334403 8b JW VAL 8 NV38 934409 SINI3H|Z102/2t/6 DIONVAVING Viva8|9T8ZeE
SPETSPSOOUXD! TE'OZT bbES-9P006 VI COOMATIOH 1S3M GATE VOINOW VINVS TZ82 TOHLIAUVW SGOOS JIOHM TOHLAUVW SOO JIOHM, TIWI3H|2t0z/0e/8 DIONVAVWYG Vivag [ST8Zee
E9GELPSOOUXD| S20 86006 V9 SIJDNV SOT GY SNHNG IDURD S GET 9S2 107 Hud V1d0 ALID SATSONY SOT SO ALID u¥d|2t0z/0t/6 DIONVAVINVG Vivad | STSZee
BET¢SZSOOUXD| GS"ST TOET-87980 [IN ONIMA GY HILODS 09€| ONIMS CUVALYNOD d7 LIWSW dSOH WHSH3H ¥u8|2107/9/9 DIGNVAVINVG Vivid | STSZee
ZOSTTTSOOUXD| O6°TT GOTE-8h006 Vo SFIZONV SOT GATE NOSLUASOU N £9T TLBS SHONGUVIS TABS SHINGYVLS 93w|ct07/e/s DIGNVAVIVG Viva | 9TSZec
LTB6TESOOYUXD| OG'OST SEONG VD SSTZDNV SOT HG SAOUD H.1NOS TIT. HOLS A7aS LAASVW SHINY V4 TIALS TG SHOWTID: 5is|ztoz/e/e DIONVAVIAVG V1v3a | 9T8ZEE
GPOSLESOOYUXD! 69"be LOCE-87006 VI STTFONY SOT GATE NOSLUAGON S SPT AIAN | ‘Od 8 ANIM ANI F3AND SIWIDH{et02/e/8 DIGNVAVIAVG Viwaa|9TBZEE
TS989TSOOUXS! 00° TOSTE VO SITZONV SOT CATS VIIONSVIN 622TT ONYd G32H3L3W ALD V1 SATSONV S01 40 ALID dvd} Z2t07/ST/S SIONVAVINVG VLV38|9TSZEE
CLTEP8BPOONXD) StS bO8T-2E206 VO STIIH ATYSARG CATS SNIHSIIM tPSs, ATIIHE TOS SHONGUVLS LTUHE Tops SHINGYVIS STW39H{72102/08/T SIONVAVIVG V1v38 | STBLEE
#VaL- wei] (9 paiitg) ssaJppy wueyolay - ejeq pied AWeN Wey - eyeq prey apo> ayeq| spop snyeqs pie) uo dequiny,
qunowy asuadxg Uonsesuess| UoQdesuedL| aweN-eeg plea] =~ aaAojdwy
asuadx3 =asuadxy pied -33eq

 

 

 

 

 

 

 

 

 

 

 

 
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T89BPTSOOUXD| OF's 72O9H-0TZ06 VO STHH ATH3ARS8 HO ATUSAE N 82? B3dIOD SHINGUV.LS SOS ATHBAZB SHINGUVLS, SIWIDH|210¢/€¢/S SONVAVING V.iVad |STSZEE
LTS6TESCOUXD| EO'EGT STT2-T8Z6 V2 ZAOUD NACUV9 3AV NVINdVHD Tie. WW) Y3N8VM JINLL ONT S1aVO YINUVM SAL {Hd] etoz/27/2 DIONVAVAIVG VLVs8/9T8ZEE
COZEPSPOONXD| Sb TET 7@BOE-88SP6 VI NOLNVSVA1d YC COOM3SO¥ OzbP| Vd DIL LBL IT1‘HALITIGOW LBV ‘133 tT02/S/TT DIONVAVIANVG Vivad | 9T8ZEE
ZLTHRSbOOUXD| 00% BEGT-8b006 VO SATJONY SOT GATS VOINIIO V1 N OOT BDIAYAS ONINUVd L31VA 371 SHOLSIANI SST-TEPT YWd]2t07/2/e DIONVAVINVG VLV38/9T8ZEe
BETP9IZSOOUXD| SS°O7 8TTt-8h006 VO SITZONV SOT GA18 YOINFID V1 O0E: Et dV51 VSLNVSG 33340) E¢T JV37 VaLNV39 333309 ANS|Zt0z/8/9 SIONVAVINVG Viva |9TaZee
TB9BPTSOONXD| TE’ss LOTY-8b006 V2 SFISONV SOT GATS SLNADIA NYS $ O8t, AUVH LNVHNVISIY NOISIA ONINdS Da | cr02/72/s SIGNVAVWVG Vivae| 9T8ZEe
SGE29EPSOOUXD| BE'TS TEOOT AN XYOA MAN L33UIS HLST 153M SSE| ANV1 S1auVA O71 LNVNV.LSay ANNIAV NIG] 2t0¢/8t/e O/GNVAVINVG Viva] 9TaZee
CLTPBBPOOUXD| ZS'rT 89006 VO SATFONY S01 GHVATTNOG ATU3ARG 0028 UVES HD GAIA IWNIS SHUVO39 ITI SNOLWH3dO OXIdOS SIWO9H | 2t07/82/z S|GNVAVINVG Viva8|9T8Zee
SEBTSOSOOUXD| P6'ET LTp2-87006 V) GOOMATIOH LS3M GA1g ATHSAZE GEOG! OT# SWUV2 1O.1SIda INI SWuvd TO1sIua STWDIH|@T0Z/it/b S|GNVAVWVG V.LV3a|9T8ZEE
E9GELPSOOUXD| SZ°S6T S09E-TTZ06 VO STHH AlNAAIg GATE NOSLYZGOY S Eby, ONINALVD OdaYs TV INI ONIW3LV3 Oday TIWIDH|2T07/ET/6 JIONVAVINVG Vlva8|9T8ZEe
S6Z9EPSOOUXD] Ob'S 92880 [N ATIAWSWOS 823 318 SUNGHINVYS @ S3ddOHS O8¢6 SHONGUVIS NONVYOdNOD SNONEUVIS YNS|2T02¢/T2/8 DIONVAVIAVG VLVa8 |9T8Zee
S6Z9EPSOOUXD| Z8'9 92880 [N ATIAYSINOS 874 3LY SUNGHINVUE O SaddOHS| O8b6 SHINGUVIS NOLWHOdUOD SHINGEWES ua] ZT0%/02/8 SJONVAVINWG V.LVa9|9T8ZEE
SEZ9EPSOOUXD} O7'8 $9880 (N NVLIUVE HINOS 207 LY OOOT| GESET # dINO Ir YSN dNOUD SsvdWOD Nni[2t0z/sT/8 SIONVAVINVG Vivid | 9T8ZEe
7@OSTETSOQOUXD| OO'OST 9€006 VO SATSONV SOT ‘HC SAOHD HINOS TTT HOLS SIS LANUVIN SUZINY Yd O77 SUS THUG SHOW ID 515|Zt0Z/0T/S SIONVAVINVG Vlv3a/9T8ZEE
GLBLTRPOOUXD| 00'TZ 8bSE-S206 VD HOVIE VSOWYSH ONVULS JHL OOET 3SNOH HOV3d VSOWUSH 371 SSNOH HVS DistoVd UWH|2t02/9/T SJONVAVIIVG V1va8|STBZEE
CLTPSBPOOUXD| PT'vT 0092-9E006 VD SSTZDNV SOT OTA 31S 15 QUE M EEE9 PLT SM11d £509 PLT SN'id 1SOD dO3|2t0z/21/2 SJONVAVIAIVG Vivaa|ST8ZEE
SOGEBZSOOUXD| 8S°L 6049-22006 V3 STTADNV SOT GA18 LISNNS M 60ZS AWDAVE NOS 8 HAHLVS NVINALYIL TIAWYS. SIWIDH|Zt02/92/9 OIGNVAVVG Vlva6|STBZEE
ZOSTLESOOUXD| LO'vOT TOP}OTZ06 VO SITIH ATHSARE GATE VOINOW VINVS T096| STIIH ATHIA39 33VO ININWd “INI ‘SLNJALLS3ANI OJCOU TIWIDH|2t02/TT/S JIGNVAYWYO VLV38|ST8ZEe
BETHSZSOOUXD| GP'OT £08S-Sb00E V3 SATZONV SOT AVM GTHOM T0z XV1 TL HLYON SXINGHVIS LdHIV-X¥T-ISOHSIH YNS|Zt0z/e/9 DJGNVAVANVG Viv3e|STSZEE
CLTEPS8P00HXD| OT'SOT VOBE-SPZO6 VI OONNDAS 13 LS NIVIN TSZ NONd N3XDIHS ASIHINVHS NOMIG N3NDIHD TINDDH | Zt02/T2/z SJONVAVINVG ViV¥38|9T8ZEE
990P9ZSOOUXD} 9E°ET ZGTZ-9E00E VI S3TAONY SO GAIA ATUAARG Sz8Z, YANOUE TaD AHL ITI S1A9VE SATU SIWIDH|2t02/T/9 DIGNVAVWVG Viva |ST8ZEE
SbETSPSOOUXD} LO’OOT TOEE-GEOOG VD SATION SOT CATE ODId M 6288 ONI LEU VIA UAHSOX SSVI13 ON! LAV U3HSOX SSWITS TVIWIDH|2T02/9/8 DJONVAVVG Vivag|9T8Zee
S9GE8ZSO0UXD] 66'6P 906T-8¢006 VI COOMATIOH 1S3M GATE VOINAID V1 N TEP 311 HSVM UV) TWAOH 371 HSM YV3 TWAOY HLOWO3|2102/€/4 DIGNVAVINVG Vivag |STSZee
SbETSPSOOUXD| EZ'ET POObL NO ATWASATTLUVE B31344 *S OZ: DINOYLD373 92 NOINN ANVdWO) 99 SdITHHd ud] 210z/TE/8 SIANVAVINVG VIV38 |STBLEE
990b9ZS00UXD| 68'ZET CBOE-B8S06 VI NOLNYSVa1d Yd GOOMASOY O2by; Vd DIL LBL ITI ALITISOW Lely OHd|2t02/s/9 DIGNVAVAIVG Vivaa|9TSZee
SvETSPSOOUXD| £2'98 OTZOG VO STIIH ATH3AZ8 GATE VOINOW VINVS TO96' STIIH ATHSARE 349 ININVd “ONI ‘SLNSWLSAANI O4GO8 TIW99H | 2t0¢/22/8 DIGNVAVWVG Vive |ST8Zee
BETPOZSOOUXD| 72'S EOST-09580 (N ATHASNLIL Y NOLUNOGYVH NOLNIYL SZTT. TERT SSVIITIASNILL VSN dAOUD SS¥dINOD. uvd|ztoz/s/9 DIONVAVINVG Vivae }STBLEE
S6CSEVSOOHXD| OZ'8E €0¢2-92880 [N ATHAYSWOS LS NIVIA MA ZT I8VSVM JT] OWIHS! Nial2ree/zz/8 DONVAVIAVG Vivaa }9TBZEE
SOGEBZSCCUXD] OFZT BESP-69006 VO SFTZSNV SOT GATS VOINOW VINVS 6528 SN34dYUD Y30N34 INI dNOUS INVYENV.LS3Y dAL SUNDDH|2102/6T/9 DIGNVAVIIVG Viva | 9TSZEe
CLTPBBPOONXD| 00ST 8P006 V3 GOOMATION ISAM 8 LdV¥ UC TIVMS N TPT Gave AWIANA HATIIW LauVOUVIN SINDSH| 2t0z/sT/7% D/ONVAVINVG Viva] 9TeZee
6POSLESOOUXD| 6P°ZE OT206 VO STUH ATUZA3G GATE VOINOW VINVS TO96 STUH AT8#3A3@ 32V3 ININVd “NI ‘SLNIWLS3ANI 0300 TIWIDH|2t0%/E/8 DIGNVAVINVG VLvaa|9TSZee
990P97SOOUXD| OS'EE £087T-87006 V2 GOOMATION 183M GATd ATUIARS E628 Sb 3V31 V3L 8 NV38 334303 8b JV37 VIL 2 NV3E 334509 SIWI9H | et0e/te/s DJQNVAVWIVG Vivaa|9T8ZEE
ZLTPBBPOOUXS| OO'6Y SEEO-PESEE Td VdVL 31S GATS U3MOHNGSSIS OTZY SHVNIWSS G3LVAILOW 139 | ‘SUYNIWAS GSLVAILOW 139 0334[TT0¢/9t/tT SIONVAVINVG Vlv3a|9TaZee
T89BYTSOOUXD| LEST STLZ-Tb826 VO SAOUD N3GHVD JAV NVINAVHO Tobe WINOD YEaNYYM SINIL ONI 376872 YSNYVM SWI IHd[2T07z/22/s S|ONVAVVG Viva8|/9T8Zce
6LELTBPOOUXD| 90°ZET 280€-88Sb6 VI NOLNVSV3Td HC GOOMASOU Oph OVd OTL Val 971 HW ALTISOW Lely 739|2t02/s/T DIONVAVINVG Vivaa|9T8Zee
EBEG8LF00UX9| SZ'O 8b006 VI SIZDNV SOT GH SNUNB 3DYORO S GET 952 LOT HUVd V3 dO ALID SSTADNY S07 40 ALID uVvd|TLO%/pt/zt SONVAVWVG ViIVa8 | STBLEE
GEOSLESOOUXD]) Ev'EcT EESY-OTZO6 WO STUIH ATH3AR UC ATUSARa N SEP STUH AT83A39 SAMYVHS NI STIIH ATUSA3d SANYVHS, FIWIDH|2T0Z/oE/2 SIONVAVINVG V1Va8|9T8ZEe
ZBE68Lb00UXD| SO'SST PORE-SPZ06 VI OGNNDAS 73 LS NIV TSz NOf1G NAXDIHD ASIHINVUS NON N3XDIHD WWIDH| Tr0e/st/2T SIGNVAVAIVG Vivae|ST8ZeE
EELIOTSOOUXD| 00'OT PT9S-SbO06 VI SATSDNV SOT GATE AUNINSO M S585 XWT ST LEE LION VIN OY TWNOLLVNUIINI LLOIMS VIE LH | 2T0¢/¢/7 SIGNVAVIVG Viva8|9T8ZEE
TLEPBBPOOUXD| OO'ZET bOBE-SPZ06 VI OGNNDAS 73 LS NIV TSz NOfiG NAXDIHD SSIHINVYd NOT NINH TIWDDH | et0e/r7/z OIGNVAVAIVG VLVv3a|9T8ZEE
LREGBLPOOUXD| 6E°E9 SO@T-BEO06 YO SITSDNV SOTSAV GNVIHOIH N BSTT YWINYOD FHL YINYOD SHEL TIWIDH| T02/Et/2t DJONVAVIANVG Vivaa|STBcee
ZOTEYIPOOUXD| B9°ETT TOTZ6 VO OOIIG NVS GATE Ned T ANOYSAVE OOSIGNVS NOLIIH 371 GUVAIINO Aud 3NO Daw | Tt0¢/2t/tt DIGNVAVINVG Viva9|ST8Zee
LTRGTESOOUXD| SB'7T €08T-8h006 VO COOMATION 1S3M GATE ATUIAIG E628 8b SVT Vad 8 NV3d 3393403 8b JV3T VIL NV38 334309 SIWI9H|2T0z/0T/L JJGNVAVWYG Viva |STBZEe
S6ZSEVSOOUXD| TZ'Oy S6SE-S2880 (N DUNGHINVHA 7Z AVMHDIH SN OSTE, Zid SNINYNG GOOM SONVS3ALS 371 VZZid N3AO NDE NIG|ZT0z/9T/8 SJGNVAVINVG Viva8|9TBZEE
EELSOTSOCUXD| Ob‘ OOT2-SSEGT Vd NUBATVIA ObT 31S NT 791d#930 OOT SNINEVd GATS LASNNS TOZ6 ONIY Yd GATE LASNAS TOZ6 ANS} 200¢/et/¢ DJONVAVINVG Vivas |STBZEE
L8EG8LPOOUXD| 09°8 ££TS-9t006 VI GOOMATION M GATS VIINOW VINVS TO6Z| CTS9 SHINGUVIS ZTS9 SHINGYVLS SIWIOH| TrOz/eT/zT DI GNVAVINVG Viva IST8ZEe
CISTLTTSOOUXD) Z9°EL TObt-OTZ06 VO STIIH ATH3AZ8 OAS VOINOW VINVS TO96 STIIH ATH3A38 FIV ININYd “ONE ‘SLNATWIS3ANI OFGO¥ TIADDH} ct02/T/s DICNVAVINVG Vivag STBZEE
B92S66POONXD| OO'T 80006 YO S3TADNV SOT GATS ATHSARE GOS8 98h YALN3D ATYZAZE | SINSISAS ONINUVd TWHLNAD Wd] 2T07/9Z/E DIONVAVINVG Vivad|STSZEE
SOGEBZSOOUXD| CO" 8b006 V3 STJDNV SOT GY SNUN@ IDYOIN Ss GET 9S£ LO1NUVd ¥140 ALID SITAONV SO14O ALID uvd|@10z/62/9 DIGNVAVING VLva8 | ST8ZEs
S90P9ZSOOUXD| SLES 60TE-8006 V2 SJIZONV SO1 CATA NOSLUZEOU N POT 1285 SHONEUVIS TZ8S SHINaUVIs| SIWIDH(2102/ST/9 DIGNVAVIVG Viva | 9TBLEE
SPETSPSOOUXS| 09'6 82TS-9b006 VI GOOMATION LSM ZOT 215 GAT VIINOW VINVS TO6L 6229 SHINGUVIS 6ZZ9 SHINGYVILS SIWIDH[2T02/9/8 DIGNVAVINYG Viva |9T8Zee
LTSGTESOOHXD| 06°6 60S2-82006 V2 STIJDNV SOT GATa LASNNS M £502 LASNIS ZOPS SHINGUVIS LASNNS ZObS SHDNGYV_LS| SINISH | et0z/p2/2 S/ANVAVWG vivaa| 9TaZee
CLTPBBYOONXD| 00°62 DESEE 14 Vd SE 3LINS GATE YAMOHNASIA OT ZY, SHVNIAIZS GALVAILOW! 139 INI NEMA 0334] TTOz/Z/tt SIONVAVIAVG V1LV38| 9TeZee
SEZIEVSOOUXD} OO'SE €9E4-200Z2 XLNOLSNOH L39uLS NOSHIAAAL OOS WI-fOH 13a SANITY G3LINA NI SANITEIV G3LINN BIduIV| 2T0z/E7/8 DIGNVAVWYd Vivad|ST8Zee
LTBETESOOYXD! 09°77 €08T-8F006 V3 GOOMATIOH 1S3M GATS ATHAAI E628. 8b dV3I VAL 8 NV38 334409 8b dv3T VAL 8 NV3G 334309 SUADIH|2t0z/se/e SIGNVAVIVG Vlvae|ST8ZEE
CLIbEBPOOUXD| O2'ST TYSE-TTZO6 VO STIIH ATUSAIE GATE Did WATO M SP06' DIdWAIO TZ£90 SHOINGYVLS SIdWNATO TZ90 SHONAUVIS STWI9H|2102/2/E SONVAVINVG Vlv3a/9T8Zce
ZOSTTESOOUXD| ZTEET @80E-88S06 VD NOLNVSV31d YG GOOMASOY OzZbr, Dd OTL LBL 371 ‘1 ALTIGOW P81y) OHd}2t02/S/S DIONVAVIANVG V1V38/STBZEE
SPETSPSCOUXD| OO'OT 8/006 V3 STIZONY SOT GAIA ATHIAIS COZ8 {N33 WOIG3W IWNIS SUV039 ONIN8Vd WALSAS OOdWY, uvd|2t07/2Z/8 DJGNVAVAIVG Vivaa|9T8ZeE
SEZSEPSOOUXD| 00'S €9EL-ZOOLL XLNOLSNOH L33N1S NOSH32939f 009 IWND-fOH did SANTINIV O3.LINN NI SSNITHI¥ C3LINA Badul¥| Zt0¢/E2/8 DJGNVAVINVG Vivid |9T8ZEE
BvaL-uyeys] (n> payigy. SSaJppy IUeYa - e}eq ple) WEN JWeYyoIayW - Bjeq pPueD apap meq} apopsnyers pie uo daquunn}
qunowy asuadx3| uonoesuely} Uo oesues| | awen-ejed plea] -avAojdury
asuadxy > asuadx3 pied - ajeq!

 

 

 

 

 

 

 

 

 

 

 
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GETZE9POOUXD| 86°SE Tyrd-87006 V2 COOMATION 153M GATE ATYIAZE TOO6| Q19 AlAAag AGVNOW3T dNOeS LNVENV.LSIY JOVNOWST SIWIDH{TLOe/Bt/Tt JIGNVAVIAVG Viv3d | 9T8ZEE
S9ZSEGPOOUXD| S8"Ez €08T-87006 YI GOOMATION 1S3M GATS ATUAARG E628] 8b SV31 V3L°2 NV38 335509 By VII VALS NV38 33403 SUND9H|2102/8/E DIGNVAVINVG Vlvaa | 9TBLEE
B9CSEGPOOUXS| S8°OT 9TS2-SZ006 VD SATAONY SOT GATE VOINOW VINVS OOTZT. ELZS VONIN VINVS SHONGUVIS ETZS YONI: VINVS SHONGYVLS SIWD9H] Zt0¢/2t/e DIONVAVINGG VLW38 | 9T8ZEE
GETZE9P00NXD| OO'ET 9E006 V3 S31ZDNV SOT ‘YC JAOUD HLNOS TIT HOLS 3713S LAYUVW SHINY VS O77 3S THC JYOWID SIWD9H|TT02/s2/tt DIGNVAVINVG Viva /9T8ZEg
89ZSEGPOOUXD| TS'EST STTZ-TH8%6 VO SAOUD NIGUVD SAV NVINdVHD Tred, WINO3 HAaNEVM JWI NI S18V3 YSNUYM SAL tHa|2t0z/ee/e DIGNVAVINVG Vivad|ST8ZEE
B89ZSEEYOOUXD| ES'TOZ TOEZ-ZEZ06 VO ALID YIAIND GATE NOSLYIGOU OSZE WOo'aL18¥1 INI WOO'SLI8¥1 TINISH|2102/s/r DJONVAVINVG Vivad|STEZec
GETLE9POOUXD| 16'02 2061-81006 V3 GOOMATIOH 153M GATS VOINSID VIN PtP OHIM/ANIVG GOOd Tae ON! G38 SUANDIH| ThO¢/2T/TT DIGNVAVWVG VivI8/STSZeE
G6TLE9P00NXD| O0'E 87006 VO STSDNV SOT GY SNUNE IOUORD S GET 9S¢ LOT HeVd V1d0 ALID SATAZDNV S07 FO ALID| uvd| TLOz/T2/tt DIGNVAVINVG Viva8 |ST8ZEe
SETLE9POOUXD] 00'S ZOEZ-SEO0G VD SATAONV SOT GATE O!d M 2798] O3ld AUANVE ZLYVMHOS "INIA, STW2DH| tt0Z/9/2r DIGNVAVWIVG V.iVa8|STBZEE
GETLES9POOUXS| TE'GET TOEZ-ZECOG VO ALID YAATND GATS NOSLYAGOY OSZE WOo'SLI8 V1 NI WOD'3LI8WT TIWI3H| Tog /62/TE DJONVAVIAVG Vivae|9T8ZEE
GETLESPOOUXD| GY'sE TOEZ-ZEZOG V2 ALID YBATND GATS NOSLYAROY OSZE| WOD'SLi8V1 ONI WOD2LIGV4 SIW39H|T102/6/2T DIONVAVINVG V1V38|ST8ZEe
89ZS66P00NX9| 00'07Z vOBE-SPZ06 V2 OGNNDAS 73 LS NIV TS¢ NOMG N3XxD1HD aSIHINVES NOT NAYOIHS TIADIH|2t02/8/E OjONVAVIVG Vivag |STeZeE
B9TSEGYOOUXD| be'cET CBOE-8BSP6 VI NOINVSV41d UC GOOMISOY OZbp! OVd S1L UBLY ITH ALMISOW Pe1v tid} ct02z/s/€ DIONVAVINVG Viva }9TSZce
GETLE9PO0UXD| 00°Z 8v006 VO SFIZONY SO L33ULS CUIHL 68E8 AYANVE VIIONDVIA 11 TV1 VNONSYW SIWDDH| Tr0z/0e/TT SIONVAVINVG VLV48 | 9T8ZEe
89ZS66P00UX5! 00'0E POOP. XO STHASI LUE YATAAN “Ss OZY DINOWL9313 94 NOINN SdiTIIHd ODONGD; AHOSIN| Z2002/bT/E SIONVAVIAVG V.va8|9TSZEe
S6TZE9POOUXD| CO'be 604S-£2006 V2 SATIONY S071 GATE .LISNNS M 6025 AUBIVE NOS 8 U3HLWs NVINZLUAL TSAWYS SIWOIIH{TTOe/9t/TT OJGNVAVINVG Vivag |9TSZee
SETLEIPOOUXD| 8B'bzZ LOZE-8b006 VO SITJONY SOT GATS NOSLUAGOY S SbT 33AN9 | ‘GOOd °8 3NIM ANI AAND SA Tt0z/St/TE DONVAVAVG WLva8 | 9T8ZEE
89ZSEGPOOUXD| €8°2Z 8006 V3 SATADNV SOT GATS VOIONIIO VIN OOT NOILIJNNOD ATH3Aag EZES SITdVLS SITAVLS| d¥OSIW | 2102/9/e SIONVAVINVG Viva} oTedce
GETZE9POOUXD| T2°st LOZE-8¢006 VO STIFONY SO1 GAIG NOSLYIEOU S SPT S3AN3 1 ‘004 8 3NIM ANI 33AND SIWIDH|TTOZ/ST/TT SIONVAVIVG VLvsd|9TSZeE
B9¢S66P00UX9| SZ'bT 8TTH-8/006 VO SATADNY SOT GATS VOINAID V1 S OOE| €¢t JV31 V3LNV3E 33dJ09 €vT dVvaT VALNVad 3344093) STADDH|ZT02/0E/E SJONVAVIAVG VLVa8 | STBLEE
89ZSEGPOOUXS| OTST §08T-8h006 VI GOOMATIOH ISIM GATE ATESAR8 £628) 8b dvd? V3 Se NV3E 334409 8p JV3T V3L 3 NVA8 344409 SINIDH|2T0z/92/E DIGNVAVINVG Viv3d |STaZee
S6TL69PO0HXD| OO'VT 8006 VO SATJONV SOT OOTH "GATS SUIHSTIM TZ29 “ONL 'ADVWYWHd IN NG “ONT ADVVHd WING Oa Tt0z/s/2t DIGNVAVAVG VLv3a | 9TBZEE
892S66H00YX9! OO'OST 9E006 VI SATJONV SOT ‘YO SAUD HLNOS TTT HOLS S1aS LAWNVW SUAWYYS TT LIS THC SHOWS d¥OSIW|2102/s/E DIONVAVAVG V1V38|9TBZEE
B9ZSEGPOOUXD| OS°6T 6054-82006 V2 S313DNV SO1 GA LISNNS M ZS02 LASNNS ZOPS SHINGHVLS LASNNS COPS SHDNGHVIS SIWI9H| 2102/8/E DIGNVAVINVO Vivag|ST8ZeE
89¢S66V00UXD| ZO'vT 6T62-TT206 VO STIIH ATY3A3 O2T # GATE SYIHSTIM TH98 GALIATINA XY ITT ‘GAUWIINN XB SIWIDH|2t02/s/E DIANVAVWYG Vlvaa| STBZEe
GETLE9P00UXD| 80'6T E856 VI NOW NVS 2977] GY NOANVD YaDNITIO’ 1009 SIDIAUAS-A VID NLLV Wns SINOH1D313 NOYASHD| == HLOWOD|tT0z/2/eT SJGNVAVIAVG Viva8|STB8ZEE
89ZS66P00NXO| ZT'6 vOObL NO ATHAST LYS Y3ITSSN *S OZP DINOULIA1a 94 NOINN SdITIHd ODONOD AYOSIWN| ZT02/PT/E SIGNVAVINVO Vivaa|ST8ZeE
GSETLE9POOHXD| 2'66E C6%-9P006 VI GCOOMATIOH 1S3M GA1d VOINOW VINVS TST LGWYNOd TVAO¥ LAWNS TvAON TIWDIH | TLO¢/Er/TT SIGNVAVINVG V1LV38|9T8ZEE
B92SEG700YUXS| O8'LT £08T-8h006 VI COOMATION LS4M GA18 ATU3A8 EGL8 8b AVAT VSL 8 NVAG 334309 Bb AVA VAL 8 NV3@ 334409 SIIND9H{2t02¢/S/¢ DIGNVAVIVG Vivae |ST8Zee
GETLE9POOUXD| SS'ZT OTZO6 VO STHH AIN3ARS UG GUOIGAG N EE Nad sianr rag stanr aw) tr02/s/2t SIONVAVIAVG Vivae |STBLEE
S6TLESYOOUXD| Sb'ZST O€6Z-TT 206 V3 STIIH ATU3AZE OOT # GATS SHIHSTIM 0298 3dV2S MAIONVX3TV INI YDALHOW TINSIH | Tt0z/8e/TT D[GNVAVVG VLV38 |9TaZee
SETLE9POOUXD| TS'TET CBOE-88S6 VI NOLNVSVaTd YG CCOMASOY Oz¢+! D¥d OU LELY IT1W ALITIBOW Lay ‘a9 Tt0z/S/et S|GNVAVIVG Viva8 | OTSZEe
GETLEIFOOUXD| BEET 6025-42006 V3 STTJONV SOT GATE LISNNS M 60ZS AUBVE NOS 8 YAHLVS NVIU3LY3L AWS SIWIDH|TtOz/ST/TT JIONVAVINVG Vivid | 9T8Zee
GETLE9POOYNXD] 05°0 8006 V2 STSDNV SOT GY SNUNG 39039 $ GET 9S¢ 101 Wud ¥140 ALID SAISONY S07 40 ALID| uvd|TtOZ/T/ZE DIGNVAVIVG Vlv3e] 9TeZEe
GETZE9FOOYXD| 00°66 S89EE Td VAIL BTZT9Z XO8 Od TLG3 ANT ANIZVOVIN BLIVaM TI G3 ANI SNIZVOVIN HLWaM Naal tt0¢/ez/tt DIGNVAVIWVG Vlv38/9TSZEe
GETLESHOONXD| T2'S 8¥006 VO SSTAONY SOT FOTE LINN L49H1S GUE LSA TESS} uve HOIMONYS 3HL TI NYG 14 ANS|TEOz/E2/TT DIGONVAVWVG Vivae|9T8ZEE
GETLESPOOUXD| O6'SZ POEC-TTZ06 VO STIIH ATHIARS GAI8 2YIHSTIM 8ZE8 $8 dVAT VaL/NVA8 334309 8 Ava WaL/NV38 334409 SIWIIH| TrOz/Z4/2T DIGNVAVIAVG V1va4/9T8ZEe
89CSEGPOORXD| OS'ST O9SE-¥SZ06 VI HOVAG VSOWUYSH SAV VSOWYAH EOET TZ8S SHONGUVIS TZ8S SHINYVLS LWS|2t0¢/8¢/€ DIGNVAVIAVG V1vid|9T8ZEE
GETLESPOOUXD| EO'ZS 9685-97006 VJ GOOMATIOH M GAid VOINOW VINVS COT P8BT JSOUVL PSBT DHL dO3|Tr0¢/2/eT DIGNVAVWYG Viva |9T8Zec
GETLE9POOUXD| SZ'2T ZOE2-SE00G VI S3T1ZDNV SOT CATE Old M 2298 Old AUZAVE ZLYVMHOS 'ONI VAT GIWIDH] Tt07/2/2T DIQNVAVINVG Vivie|STBZEE
89ZS66P00HXS| O8'E9P 8bSE-'S206 VD HIVAG VSOWYSH ONVULS SHL OOET 3SNOH HOV38 VSOW83H ITI SSNOH HOVAa DIdIoVvd LH} Zt02/0e/€ DJGNVAVAVG Vivi8|ST8ZeE
CLEPEBROOUXD} 00'ST BPO06 VD GOOMATIOH 153M 8 LdV YG TIVMS N T¢L Gave AWINNA YaTTIW LauvouvVAl SIH | etOe/st/z DIGNVAVINVG V1V38 |ST8ZEE
GETLE9POOUXD| O2'7e 9€006 V2 S31SDNV SO7 GATE SYIHSTIM ESES AOULAG 8 SUIHSTIM 8666 dHOD SYONaUVLS SWNDSH| Troe /T/2T SJGNVAVINVG Vivaa | ST8ZEe
SS0F9ZS00HXD| O0'L £9006 Vo S3TADNY SO1 GATS VOINOW VINVS OSZOT 4D AUINDOTAISM NMLONUHS ONY QUYONVES uvd| 7T0¢/PT/9 SIONVAVIAVG V1V48|STBLEE
CLTPBBPOOUXD| OO'GET 80TH 8b006 V2 SATADNV SOT GATE SLNADIA NVS S OOP sVaav HVHS SVaey HVHS| TIWDDH|Z102/T/2 OIGNVAVINVG ViV38|9T8ZEe
LTBETESOOUXD| O0'ST £2058 ZV XINSOHd £0-10-p2 JIN SS 31S Hd GNaYH3a M Tobe 33d DIL SsaudXd NVOIWAWV 333 DIL SS3udXd NVOIWAAY 334 ZT0¢/p7/2 S/ANVAVINVG viva |9teZee
SOZ9EPSOOUXD| OF'E 92880 IN ATIAUZWOS 823 314 SUNGHINVUE O SdddOHS O8%6 SHONGUVIS NOILVYOdHOD SADNEYVLS NS|2T0Z/2T/8 SIANVAVINVG Viva | 9T8ZEE
SPVETSPSOOUXS| STE LOPE-9P006 VO STTSONV SOT GATE LASNNS M £ZSZ O0T SHd'TVY ANVAINOD AUSDOUD SHdIVE SINIDH| 2102/22/8 DIONVAVWIVG Viva8 | 9T8ZEe
CLTPBBPOOUXD} Ob'2z £1vé-8b006 VJ COOMATIOH Sam GATS ATHIARE GEOG OT# SWYVd TOLSING INI SHV TOLSINa SIWDIH|2t02/9/2 OJQNVAVAIVG VLVaa | ST8ZEE
OVETSPSOOYXD] OST ZT8t-OTZ06 VO STIIH ATUSARE CET WH YO CYOsXAY N SSP SUBLUW ONIMUVd HE STIIH ATY3AR€ JO ALID uvd|Zt0z/62/8 DIGNYAVINVG Vivid |9T8ZEe
pISPLEvOONXS| vé'PT 21006 VD SATADNY SO1T GND GATE SUIHSTIM SSOT 3dV2 (3G IHDVA YAIGUV4 ONY SUANDIH| C00 /b2/t OIGNVAVIANG VLV3a|9T8ZEE
SEBTSOSOOUXD| PT'TOT'T 8b006 V2 STTSDNV SOT 1S GHE M0028 OAOD 3 NI OIZNANNY.G GTNDIH]2t0z/8T/p DIGNVAVWVG Vivid | 9TeZee
G6TLE9P00UXD| OO'OTZ bOEZ-LS006 YD STTZONV SOI LS GUE M SO6T 1 MAN ONI 92 Sid IVANHY TIWI9H| Toe /9/2t DIONVAVINVG VLVIa/9TBZEE
CLI PBBPOOUXS} OO'T BEGT-BP006 VO S2TZONV SOT GAIA VOINZID VIN OOT, SIIAYAS ONIN Vd L31VA ITI SHOLSSANI 89T-TEPT avd | 2T02/be/z DIGNVAVIAVG VLV38|9TSZEE
E9GELPSOOHXD| OO'TET C80E-88Sb6 VI NOLNVSV31d HC GOOMASOY OZ SVd STL LBLV 911‘ ALMIBOW LELY 139 | t102¢/S/6 SJONVAVINYG VLV38|9TSZEE
SOGESZSOONXD| ST'ST 9685-97006 VI GOOMATIOH 153M GAId VOINOW VLNVS 0OTZ! P88T L3OUVL PEST LAONVL dO3|2T0z/22/9 DIGNVAVAIVG Vivaa |ST8ZEe
SOGE8ZSOOUXD| OO'He 6045-22006 VO STIFDNV SOT GAId LASNNS M 6OZS| AMBVE NOS 8 HSHLVS NVIWILU3L TIAWYS SIWIDH|ZT0z/97/9 SIQNVAVIVG Viva |}STBZee
EIGELPSOOUXD| 62°6 bO8T-8b006 V3 GOOMATION LS3M GAIG ATUAAaS 0028 BVLS YLD GAIA IWNIS S8V¥G39 911 SNOLLVU3dO OXACOS| SINSIH| 2t0z/et/6 S/GNVAVWVG Vivag}oTeZec
6P9SLESOOUXD| SEET 82ZTS-9b006 VD GOOMATIOH 1SaM LOT 315 GAId VIINOW VINVS TOSZ ZLS9 SHONGUVLS ZTSS SHINAYWIS SUNI9H|Zt02/T/8 SHONVAVWVG VLV38 | 9TSZEE
#V3L- wyel> {n> paya) SS53Jppy JUeYIaIA] - 23€q p4seD SWEN QUEYISJ - 232g psed apop aed] apop snyeys pied uo, Jaquwnont
qunowy. asuadxg Uonzesuest| UONIRSUeZL | BWeN-eIeg Plea] - aaAOjdWy
asuadxy > 2suadxg pied - ajeq

 

 

 

 

 

 

 

 

 

 

 
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(eo°ete} XD # LHOdaY SSN3dXA S2/Z0 — YSHINOA ASN3dX4 30 SARZIOUd ztoz/se/e YGNVAVINVG V1Va8 |STSZee

{so'6es} UXO # LHOday SSN3dX3 ST/80 — HAHDNOA ASN3dX3 AO SG3390"d t102z/st/8 TONVAVIAVG Viva |ST8ZEE

{oo'0s6) DYX9 # LHOd3Y SSN3dx9 GO/OT — YSHINOA ASNAdX3 4O SQaR90ud ct02/6/0t IJGNVAVIAVG V1LV38 |ST8ZEE

(te'ttz} DYXD # JHOdaY ASNAdxA 9T/SG = HSHINOA ASNAdX3 SO SGIIIOUd croz/ot/s IJGNVAVINVG Viv38|9T8ZEE

(o0'v6t) 80Tt-87006 VI SITSONV SOT GA18 SLNADIA NYS S OOF SV88V HVHS SVaeV HVHS ewo7/ct/e IJGNVAVINVG Viva |9TeZec

(99°2pT'T) PUXD # LYOdaY SSNAdKA9Z/E0 — HSHINOA ASNIdXI JO SGIIIOUd 2t0z/92/6 SJONVAVINVG Vivae |S9T8Zee

(66'E6p) DUXS # LYOd3Y SSN3dx3 ST/8O — YAHINOA 3SNAdXa JO SQ339IONd eroe/st/8 IONVAVINVG VLVa8 | STSZEE

(pe'Zb2) DUXS # LHOd3Y ASNAdX3 $0/20 — YAHINOA 3SNAdX3 JO SGI3IOUd 2t0z/s/2 TJONVAVINVG V1V38 | SE8ZEE

OO"6EL 80Tb-87006 VD SJTSDNY SOT GATE ALN3DIA NWS S OOP SVS HVHS SVaaV HVHS 2t07z/2t/b IGNVAVINVG Viva }9T8ZEe

(so'g69) PUXS # LHOd3Y ASNAdX3 ST/8O — YAHINOA ASNaAdX| JO SCI3IOUd @toz/st/e UGNVAVINVG Viva] 9TaZee

{o0°6eT) 80TP-8¥006 YO SATISONV SOT QATE SLN3DIA NWS S OOF; SV8av HVHS SvdaVy HVHS 2t0e¢/Zt/e IGNVAVWVG Vivas9T8Zee

{vo'z28't} DYXS # LHOdSY ASN3dx3 80/S0  YAHDINOA 3SNAdXI 3O $GaIIOUd Z10¢/8/S NOQNVAVAVG VlV38 | ST8ZEE

(ce"€9T'2) DYXS # LHOdIY ASNAdX3 bT/EO — YAHINOA 3SNIdXF JO SGIIIOUd @to¢/vt/e IJONVAVINVG Viva |9TsZec

(best) STTZ-Ty8Z6 V2 SAQUD NAGHVD JAV NVI VHD Top. WIWO) YaNUVM SIL ON] 318 V2 HINYVM SILL ctoz/et/s YGNVAVINYG ¥1¥39 | 9T8ZEE

O0°PET SOT 8b006 YO STTHONY SO1 GATE JLNIDIA NVS 5 OOP SvaaV HVHS SVaSV HVHS 2tor/et/y NONVAVINVG Vivda| 9T8ZEe

(c8'€62'T) DUXS # LHOdIY ASNAdXA 22/20 HBHINOA 3SNAdXF JO SGSZIO“d ztoz/zz/z IJGNVAVINVG Vivaa|9TSZEE

(sz'ete't) DuXD # LHOdIY SSNIdX3 ST/90 — YAHINOA 3SNIdX3 4O SGAIIONd zt0¢/st/9 JJONVAVIAVG V.iv36|ST8ZEE

(00°pbe) DuXO # LHOdIH ASNAdX3 ST/ZO — YAHINOA FSNIdXa AO S$AazIOUd tLOz/st/z IJONVAVIVG ViLvae|ST8ZEE

{92'689) PUXS # LHOdIY SSNIdXF EZ/EL = HSHINOA 3SNIdX] 4O SGAAIONd TLOZ/EZ/TT IJONVAVIAVG Viva8|9T8Zee

{ob'p9) O€G2-TTZ06 VI STUY ATUSAG OOT # GAT9 SUIHSTIM 0498 Bao S HACNVX3TV INI XOBLHOU 2tOz/Zt/E IJGNVAVINVG vivae |9TeZee

{op'998"t) DUXD # LHOdIY ASNAdX3 OE/SO — HAHINOA 3SNIdXS JO SCARIOUd zr07/oe/s JJONVAVINVG Vivad|ST8Zee

(ep'est) STT2-T826 VI SAOUD NIOHYD BAY NVIAVHD Tepe WIN0D HSNUYM JW NI 318Vo YaNYVM SIAL etoz/er/s HONVAVIVG Vivsd|STSZee

(to'vbe'T) DYXD #.LHOdaY ASNIdXA TT/EO = YSHINOA ASNIdXa 3O SQSIIOUd ZtOe/Tt/t HQNVAVIVG Vi1Vva8|ST8ZEe

(€z'9t0'T) DYXD # LYOdau SSNAdXa BT/bO | HSHIMOA 3SNadXd JO S03390Nd etoe/st/p NONVAVWYVd Viv38/9T8Zee

(szozt'T) DUX # LYOdaY ASN3dXa GO/ET — YAHINOA 3SN3dX3 JO SC3990Ud TL0z/6/Tt SJONVAVIVG VLV48 | ST8ZE€

(98°2z9'T) DYXS # LHOdaY SSNAdXd 22/ZT = YSHONOA SSN3dX3 JO SGISIOUd TL0e/%2/et TJONVAVIAIVG V.LVa8|ST8Zee

(8T'p2e) DUX # LYOday ISNAdxa 0/20 YSHIMOA ASNAdX3 AO $G3IIOUd etoe/s/2 YONVAVWYG VLV38 | 9T8ZEE

(o0"6r) SEES-PESEE Td WdIAIVL 31S GA18 WAMOHNASIA OTL SUVNIWAS O3LVAILOW 139 | ‘SHYNIWAS GSLVAILLOW 135 ZLOz/TE/E ONVAVWYVG VLVI8|/9T8Zee

(s'est) STTC-TH8Z6 VD SAQHD NAGHVD SAV NVWdVH2 Teb WW 8aNYVM SINIL ONT S18 Vo YaNBWM SIAL eroe/et/s IGNVAVIANVG Vive] 9T8ZeE

(p'ge0'T) DYXS # LHOdaY 3SNAdX2 92/60 YAHINOA 3SNIdKI JO SGAaIONd 210z/9¢/6 GNVAVVG Vlva8 |STBZEe

(e6'062) DUXD # LHOday ASNAdxa 8E/PO — YAHINOA 3SNAdXF 4O SGIIIOUd et0z/et/y TJONVAVVG VLvaa/9T8Zee

{46°799) DUXS # LYOdgy ASN3dX3 0&/SO — BAHINOA 3SNIdX3 4O SGAIIOUd 2t07z/oe/s IONVAVWIVO Viva] STSZEe

(cet y't) DUXS # LHOdae ASN3dX3 22/CE = HSHINOA 3SN3dX3 JO SG3390Ud Troz/z2/er IONVAVIYG Vlvad/9TeZee

{c0'6z} PESEE 13 VdWYL S8 SLINS GATE YIMOHNASH OTL, SUVNIAISS GALVALLOW 139 ONT NIMZdIT thoe/s/2t IJONVAVIAVG Viva8 | 9T8 Zee

GETLESPOOHXD| SZ‘OTT TOEC-ZEZO6 VO ALID YIATND GATE NOSLU3EOU OSZE WOD‘SL18V1 DNi WOD'SLIavT THADSH|T10z/6/2T SIONVAVIAVG V1V38 | ST8ZEE
6ETLE9PCOUXD| OS'0T 6025-22006 VD S3TRDNV SO1 OATS LISNNS M 6025| AMSXVG NOS 2 YSHLV4 NVIMSLY3) TAS SIWIIH| ET0¢/9T/TT OGNVAVWVG Vivaa | ST8ZEe
GETLE9POOUXD| TETST STT?¢-Th826 VO FAQS NAGUYD 3AV NVINdVHD Tepe WIWO3 HAaNUYM SILL NI 37182 YSNYYM SIL] Hd} Tt0z/22/TT SIGNVAVINVG ViV38| 9T8ZEE
B9ZSE6POONXD| 00'T BEGT-8Y006 V2 SITSONY SOT GATE VO3NI9 V1 N OOT SDIAWAS ONIAUVd LATA ITI SHOLS3ANI BST-TEPT uvd|2@t0z/9/e OIGNVAVWvd viva |ST8Zce
GETLE9PCOUXD) SZ°6T ZOEZ-SEONG VI STIZDNV SOT GATE Old M 2298 ODid AUZAVE ZLUVMHIS “ONT VAT AIWIIH| T10z/2/2T OIGNVAVIVG Viv3d|9T8ZEe
GETZE9PCOUXD! SOT 8P006 V2 STTJDNV SOT GUVAIINOD ATHRARE GOZE YVLS UL GSW IVNIS SHYVG3D 377 SNOILWHadO OXIGOS SaW|tt07/6/2T JIGNVAVINVG ViV38|9TBZEE
B9CSEGPOOUXD| €8'ST TO9T-SEO06 VD SFIZDNY SO1 GATE NOSLYJGOU S 908] OlV139 WIT1OLV1AD TV SWWIIH|2t02/9/E DIONVAVIAWG Viva |ST8Zee
66ETLE9VOOHXS| OO'OLT 9E006 V3 SATAONV S07 ‘YD SAOUD HINOS TIT YOLS ATAS LAABVW SHINY Yd 977 ALS THO SYONTS OIS|TLO¢/St/tr DIONVAVINVG Viv3e|9TBZEE
897SE6POOUXD| EE'SZ @6TC-9EOOG VI SFTAZONY SOT GATS ATHIAZS S284, YBxOUS 129 3HLITIS1a9VEa SATHA SIWI9H|2T02/S/p DIONVAVIWG VLV38/9TSZce

#¥al-wyeo] (n> payia} SSaJppy JUEYDIW - 2eq psey @WeEN JUEYDJaIA] - BeQ pie) apop ayeg| apop snjexs| pue uo JaqunN
qunouly asuadxy UoResuel|| UoysesuelL | aWweN-e}eg pled} - avAojdwg
asugdx9 ~gsuadx9 pep -ajeg

 

 

 

 
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Exhibit 31

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 20 of 77 Page ID #:322

 

From: Damavandi, Bita [TTTUS]

Sent: Thursday, January 22, 2015 3:04 PM

To: usa5919@fedex.com

Ce: Damavandi, Bita [TTTUS]; teavandi@yahoo.com
Subject: feb 12 dinner

Attachments: Invitation.pdf

Please print 10 invites on cardstock, in color.

Will be by in case any questions in 30 min.
Tea
310-210-2482

From: Sumner, Blaire [mailto:bsumner@medforce.net]

Sent: Thursday, January 22, 2015 7:07 AM

To: Damavandi, Bita [TTTUS]

Subject: PROGRAM CONFIRMATION: 2015 OLYSIOR Speakers Bureau: Meeting ID #68197: Thursday, February 12,
2015

Hi Tea-
You are all set at Cecconi’s. Attached is all the paperwork as well as the contract worked out with the venue. |
have ordered the screen from them, but will have the Laser and Advancer ordered and delivered from Tallen.

Thanks!
Blaire

 

Attached are the necessary documents for your upcoming Speaker's Bureau program listed below:
Meeting ID: 68197

Topic: A Clinical Overview of OLYSIO™ (simeprevir}
Date: Thursday, February 12, 2015

Time: 7:00 PM

Location: Cecconi's

8764 Melrose Ave

West Hollywood, CA 90069 (310) 432-2000
Speaker: Edward Mena, MD
Speaker Cell: (323) 365-8968

Please take a moment to review the attached documents, as they reflect the confirmed details for your program.

e = Invitation
e¢ HCC Sign in Sheet (to be faxed back to MedForce using the information at the bottom of the Sign in sheet)
e Copy of Speaker Confirmation Letter

lf any information has changed, please contact MedForce as scon as possible.

As a reminder, per compliance guidelines, honoraria payment may not be released to the speaker until you have logged
onto www.janssenspeakerprograms.com to accurately record participating attendeesand fill out your online speaker
evaluation. Refer to Meeting ID# 68197.

 
 

Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 “Page 21 of 77 Page ID #:323
O

ILY SI

SIMEPREVIR

150 mg capsule

   

 

 

OUR GUEST SPEAKER WILL BE

Edward Mena, MD

HMRI Liver Center Associate, HMRI Liver Institute
Pasadena, CA

Dr. Mena is a paid speaker for Janssen Therapeutics, Division of Janssen Products, LP

Thursday, February 12, 2015 at 7:00 PM

Cecconi's
8764 Melrose Ave, West Hollywood, CA Phone: (310) 432-2000

Register online at http://www.medforcereg.net/SOMP68197

or with your Janssen Therapeutics Sales Specialist by Thursday, February 05, 2015
BITA DAMAVANDI
Phone: (310)210-2482

In adherence with PhRMA guidelines, spouses or other guests are not permitted to altend company—sponsored programs. For all attendees, please be advised that information such
as your name and the value and purpose of any educational item, meal or other items of value you receive may be publicly disclosed. If you are licensed in any state or other
jurisdiction, or are an employee or contractor of any organization or governmental entity, that limits or prohibits meals from pharmaceutical companies, please identify yourself so that
you (and we) are able to comply with such requirements. Please note that the company prohibits the offering of gifts, gratuities, or meals to federal government employees/officials.
Thank you for your cooperation. Per OPEN PAYMENTS regulations, we are required to report and publicly disclose the name and the value and purpose of any educational item, meal
or other item of value given to a physician (MD, DO, OD, DDS, DPM, DC) or teaching hospital effective August 1, 2013. This promotional educational activity is not accredited. The
program contents developed by Janssen Therapeutics, Division of Janssen Products, LP. Speakers present on behalf of the company and are required to present information in
compliance with FDA requirements for communications about its medicines. The personal information you provide may be used to contact you about your request to attend the
Janssen Therapeutics, Division of Janssen Products, LP program. Information may be shared with Janssen Therapeutics, Division of Janssen Products, LP. its affiliates, and a third
party for the sole purpose of completing your registration for this program and as required by law.
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**IMPORTANT™ You will be responsible for adding your attendees directly into this meeting.

Please be sure to capture attendee names, addresses, specialties and degree so you can enter this
information online post program.

Please refer to the Resources tab on www.janssenspeakerprograms.com for tips on how to register and
record your attendees.

We anticipate your meeting will be a success and we thank you for your support. As always, if you have any questions,
please do not hesitate to contact me.

Blaire Sumner

Project Coordinator

MedForce

119 Avenue at the Common, Suite 7
Shrewsbury, NJ 07702

Phone: 888-735-7418

Direct Line: (732) 380-8721

Fax: (732) 389-9506

Email: bsumner@medforce.net

 
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Exhibit 32

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 240f 77 Page ID #:326

Ron Lloyd Orange County Territory 5521415 8/3/14

90-Day HCV Launch Action Plan & Portfolio Selling: Advancing Healthcare with Simeprevir & Simponi

Territory SWOT (use insights from HCV Profiling, Field Intelligence, etc...)

 

Strength (internal to J&J)

1. Marketing budget allows for me to
strategically target multiple targets with a
number of “Live Speaker Dinner Programs”

2. Strong Selling Skills

3. Simeprevir has great Efficacy (High SVR),
Safety, and shortened Dosing regimen

4. Access Resources: Simeprevir Support, Co-
pay Assistance, JIPAF,SMD Group, Open
Network, Access Marketing Materials

Weakness (internal to J&J)

1. Unique labeling for Simeprevir “East Asian
Ancestry” & “Q80K” testing

2. Lack of KOL focus from marketing with KOLs
within my local market area in comparison to
Gilead who is doing local Advisory
Boards/Consultant Meetings & Developing
multiple local speakers (i.e. Dr.Kayali &Hu).

3. JSHI not offering patient support with nurse
who do training weekly/monthly training classes
for newly prescribed patients

 

Opportunity (external to competition, market)

1. High HCV poteniial territory where
community physicians make up large % of
business (i.e. Asian Targets) with good access

2. Leverage current KOL Tarek Hassanein &
develop local speakers/KOLs in Dr. Hu, Kayali,
Hoefs, etc.

3. Loma Linda University (Liver Transplantation)

offers opportunity to have Simeprevir
prescribed to large population of HVC patients.
This could be leveraged to influence community
physician and Loma Linda VA (long-term
strategy)

4. To develop “PA Champions” to develop a
“seamless” pull-through strategy w/top targets

5. Develop relationship w/Ke-Qin Hu (Dir. of
Hepatology) at UCI. Get
Marketing/Management/Clinical support of this
KOL

 

 

Threats (external to competition, market)

1. Gilead’s Sofosbuvir 12 week treatment verse
Simeprevir 24 week treatment

2. Short “window” of opportunity (warehousing
for interferon free therapies)

3. Gilead highlighting the Simeprevir PI section
about “East Asian Ancestry” which Sofosbuvir
doesn’t have in their label (9 out of my 10 top
targets service the Asian community)

4. IEHP (Inland Empire Health Plan) doesn’t
approve any Triple Therapy. Is the largest health
plan that covers my entire Inland Empire
geography. HPAD to get access to Hep C care.

5. Hassle Factor with the Prior Authorization
process

6. Identifying & Access to “Key” Hep C targets at
VA & Loma Linda Transplant Center & set up
Speaker Program

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

Top 10 Target HCPs to Adopt Simeprevir

 

 

Prescriber HCV Profile Selling Needs Top Payers
Decile (Strategy, Tactics, Messaging)
John Hoefs 40/20 e Consider to add as Speaker WellPoint (C) 16%

¢ Management “High Contact” UnitedHealth Group(Medicare) 10%

 

 

. diye Zi BS of CA (C) 8%

e Marketing “High Contact’ Express Scripts (PBM) 6%
Tarek N/A e Use & Develop as Speaker Community Health Group
Hassanein/Catheri ¢ Management “High Contact” (Medicaid) 27%
ne Hill NP (San * Marketing/Home Office “High CVS/Caremark (Medicare) PBM 5%
Clemente) & Renee Contact” Humana (Medicare) 5%
Pozza (Riverside) Molina (Medicaid) 5%
Richard Quist 00/30 e Lunches for Access w/Dr Wellpoint (C) 16%

e Target staff & dr. for “live BS of Ca (C) 11%

Aetna (C) 9%
UnitedHealth (Medicare) 9%
UnitedHealth (C) 9%

Speaker Programs”
e Call Frequency

 

 

Asghar Oliai e Efficacy w/Convenience & Aetna (C) 14%
tolerability Drives usage WellPoint (C) 14%
e Leverage rapport w/Maria & UnitedHealth (C) 7%
Doctor Cigna (C) 4%
Michael Demicco 40/70 e = Efficacy w/Convenience & Scan (Medicare) 10%
tolerability drives usage Aetna (C) 9%

Health Net (C) 6%
United Health Group(Medicare) 6%
WellPoint (C) 6%
Hyder Jamal 30/10 ® Wants to treat with best WellPoint (C) 21%

Efficacy/Duration/Tolerability | Express Scripts (C) PBM 7%
BS of CA (C) 6%

Aetna (C) 5%

Ke-Qin Hu 70/30 e Use & Develop as speaker CVS/Caremark (Medicare) PBM 67%

« Support UCI GI/Hep Depart.
Speaker Program in Victorville

 

 

 

 

 

Alaa Abousaif A e Efficacy w/Convenience & Abousaif: WellPoint (C) 23%, Aetna
(Dixie NP}, (30/10) tolerability drives usage (C) 12%, Health Net (C) 8%, Express
Hardeep Singh Ss ¢ Pull thru Strategy for Office Scripts (C) PBM 7%
(Ann Lee NP) (10/00) ¢ Invite to Live Speaker Programs (0) 12% Unitedtieatth (C) 7 cA
UnitedHealth (Medicare) 6%
Syam Gaddam 50/70 ¢ Product info on tolerability, UnitedHealth (Medicare) 13%
efficacy & duration Aetna (C) 6%
e Address limit “access” to dr. WellPoint (C) 6%
(4:30 Best) BS of CA (C) 5%
e Schedule Lunch when available
Lawrence Hurwitz | 20/00 © Monthly lunches UnitedHealth (Medicare) 10%
e Efficacy w/Convenience & Aetna (C) 8%

tolerability drives usage WellPoint (C) 8%

e “Peer to Peer” influence

 

 

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

Territory KOL Presence — {Yes

 

If yes, what is your launch strategy to maximize territory and local community influence of this KOL?

 

1) Speaker/KOL — Tarek Hassanein MD (w/SD Rep)
e Use & Develop at Speaker for 2"? Half 2014 (2 OC Programs & SD Programs)
e Coordinate high frequency “touch points” new SD rep and make sure all locations are service in
OC territory & SD territory
e “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
*¢ Build rapport with staff, NPs, etc. at all locations w/breakfast/lunches/call frequency
2) Speaker/KOL — Ke-Qin Hu MD
e Use & Develop as Speaker for 2" Half 2014 (Victorville, OC, UCI Specific Program, etc.)
¢ Promote Dr. Hu to other reps on West Coast
e Leverage his UCI connections (i.e. past Fellows, Residents of UCI, Asian Community Physicians)
e § “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
® Educate Pharmacy Department at UCI & help w/Pull Thru
3) KOL—John Hoefs MD
e = Inquire about making him a Speaker for OLYSIO
e “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
e Leverage rapport w/Lein (MA/PA person,etc.) & Gail (office mgr) to get better access to Dr. H
e Invite Hoefs & staff to Live Speaker programs
e Offer Library Program
4) KOL ~ Zeid Kayali MD
e Develop & leverage relationship w/Dr. K’s PA-C (Cory Amador) at Arrowhead to get “access” to
Dr. Kayali. Visit Dr. Kayali at Arrowhead in PM on Monday. Try for access at San Bernardino
location.
e Collaborate w/new SD rep to make sure they leverage access w/Dr. K’s NP in Vegas
e “High Contact” w/Home Office/Management/Marketing/MSL (when requested by Dr. H)
e Leverage IEHP Guidelines for HCV
5) Target KOL/High OLYSIO Users Staff (Dr. Quist, Hassanein, Hu)
e Invite all staff to Live Speaker Program even if physician will not attend
© High frequency calls, lunches, breakfasts
e Pull thru “strategy” & Develop Prior Authorization “Champion” for all targets
Library Textbook Program for associated NPs, Pas, etc.

 

1. November 20th i in n OC (Speaker Saab) Booked

2. December 4th in OC (Dr. Hu} Booked

3. Victorville or UCI Specific Program (Dr. Hu), Confirm & then book
4. Jan 2015 (Speaker Hassanein) Set up in Q4

 
 

 

 

-Loma Linda VA focus: meet w/Pharmacy to get OLYSIO Marketing pieces approved, Identify Hep

 

 
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C targets, Set up Speaker Program

2. - For targets that are in the outlining areas(can’t attend Dinner Programs) | will leverage Live
Web resources (i.e Dr. Hurwitz, Victorville Group)

3. --1 will challenge Marketing to invoive my local KOLs and influencers in Advisory Boards &
Consultant Meetings and develop as Simeprevir Speakers

4. -Longer term focus will be at Loma Linda Liver Transplant Center (Identified HVC users, Wen Long
PA-C & Brijie Elhazin NP) due to the fact that access to them is much more limited

 

 

 

Resource Utilization (Using, Executing, Maximizing); attendees to programs should be tracked for Rxs:

Portfolio Resources 2013 -2014 Oct-2014 Nov-2014
No. of HCV KOL Webcast: : . ft 4 boo Be ee a,
Restaurant ; Be" Po ND: oN: a s

T -
Actual
No. of Live S}
T Attendance
Actual Attendance . eo co
No.. of | Direct: ae 7 1
Restaurant Co Cee Oh NE oN he.
T , 1 office. |. 1 office
Actual ee :
No. of HCV Library Program 35 total. ~ JBD
by end of
June

 

Portfolio Selling ~ Simponi United Healthcare Targets (reference iMap and Humira United Prescribers)

 

Current Simponi Simponi Super Targets | Simponi United Simponi Sampled

Prescribers in VS - Healthcare Targets — Prescribers

Keep ‘Em Writing Move from 0 to 1+ Pull Thru Access

(add to list as needed)
Get ‘Em Writing

 

Sajen Mathews(Simp) Donald Abrahm(Simp) | Lawrence Hurwitz Rakesh Chopra(Simp)

 

 

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14
(8%)(Simp)
Richard Quist (Cust) Kevin Jenkins(Loy) Jack Dinh (7%)(Cust) Ahmad Shaban(Cust)
Craig Ennis(Cust) Lino Deguzman & Anne | Gregory Ardigo Donald Abrahm(Simp)
Burkel (PA) (Simp) (5%)(Simp)
Benjamin Shih-Ting Tsai (N/A) Lino Deguzman Jason Shin(Cust)
Weinberg(Simp) (7%)(Simp)
Carlos Saad(Cust) Christopher Lee(Simp) | Richard Quist
(6%)(Cust)
Nimisha Parekh David Kaufman(Cust) Benjamin Weinberg
(UCH)(N/A) (6%)(Simp)
Vinod Mishra(Cust) Hyder Jamal({Loy) Donald Abrahm
(5%)(Simp)
Hardeep Singh(Simp) Christopher Lee
(4%){Simp)

 

 

 

 

 

 

 

My overall winning launch plan to build adoption of Simeprevir & grow Simponi UC penetration is:

 

Focus on “top 10” early adopters to Simeprevir with high frequency calls, in-services, and dinner Speaker programs. For
penetration I’m going to leverage JBI partner with multiple Junch in-services & live Dinner Speaker programs to uncover the
reason they haven’t tried Simponi. | will address the need and close for just one patient trial. Develop Dr. Abrahm as
Simponi Speaker. Have him get clinical experience and do OC speaker program in March/April. Met w/Lynn to develop top
target each of us will focus on:

Abrahm, Quist,Ardigo, Weinberg, Mishra, Ennis, Hurwitz,Saad, Dinh, Mathews, Jenkins, Deguzman, Kaufman, Tsai,Kalra,Singh,James
Lee)

 

 

 

Non Retail Account Planning:

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

 

Arrowhead Regional Account Access: must get credentialed through Reptrax to see Dr. Kayali. Park
Medical Center in Vender parking. Use back door the get to Materials Management. Use
(outpatient) Reptrax computer to sign in and print badge. Go to 1* floor Window #3 and ask
to see Dr. Kayali. Go back to room 7. BEST TIME TO SEE DR. KAYALI 1S MONDAY
AFTERNOON. Call for appt: (909) 580-1750

 

HCV Key Influencers, Prescribers

Dr. Zeid Kayali
E-mail: Kayali@usc.edu

Tues: at 2006 North Riverside Ave, Rialto CA

Strategy: Gain access to be able to probe Dr. Kayali to gauge his Hep C needs.
Does he want to be a Speaker? How does he treat Hep C.? How does his staff
manage Hep C patients, etc.

 

 

Tactics: Probe to see if he wants to be a Speaker. If yes, submit paperwork (CV)
Coordinate w/Julie Ewer since she will have him as target in Las Vegas. Invite to
Live Speaker Program, KOL Panel, etc. Schedule in-service to go over Simeprevir

 

 

to doctor & staff
VA Loma Linda Account Access: Need ID & License to get through the front door. Go to
Healthcare Systems Pharmacy Service (Felicia Markham- Secretary). Sign in with “sign in sheet”.
11201 Benton St. Need to list the physician you have appointment with. Location: Take North

Loma Linda, CA 92357 | elevator to 2" Floor, go past “Retail Store” & before “Food Court” turn Rt. at
“Credit Card” sign, Pharmacy Service on Rt Hand Side.

HCV Key Influencers, Prescribers: Hepatologist moved. Need to find out who
will be treating Hep C.

*Kenneth Wong Pharm D (Ambulatory Care Supervisor) Kenneth.Wong@va.gov
(needs to approve all marketing material before use)

*Hester Choi MD (treat IBD & good contact to find out who treats Hep C) Ph;
(909)825-7084 Ext. 6100 Ext. 4138 She is Gastro Attending

Per Aye: Dr. Cindy Cai & Deborah Anghesom treat Hep C at VA. Mentioned that
VA should be filling Hep position soon. Said they usually follow the lead from VA
in LA. Also mentioned that NP’s Bevery & Gail manage Hep C pts

Strategy:

E-mail Dr. Choi to get info on who will be treating Hep C. Find out all key
contacts. Make appointment to probe to find out Hep C needs. Educate key
targets on Simeprevir

 

 

 

Tactics:

E-mail for appointments. Set up in-service to educate on Simeprevir. Web
programs.

*Beverly Landry (NP) (909) 825-7084 Ext. 1404 (contact to see if she or who else
treats Hep C

*Michael Ing MD (Chief of ID) (909) 825-7084 Ext. 2942 (contact and see if he

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

 

manages Hep C}

Contact: Phil Pellkoper (IM CV) to see if he has contact w/who treats Hep C?
(Sofia Puerto —Nurse Educator}

*Cold Call Dr. Elgorhari to find out whe treats Hep C (Best time 12-1:30 3" FL)
*Joel (Front office at GI Endo Center)

 

 

 

 

Other:

Academic Institution Planning:

 

Loma Linda University | Account Access: Can e-mail Wen Long (PA) & Brijie Elhazin (NP) to schedule
appt. wlong@llu.edu & Belhazin@llu.edu. Located at Liver Transplantation
Center: 25865 Barton Rd Suite 101 Loma Linda, CA 92354

 

HCV Key Influencers, Prescribers

Wen Long {PA}

Brijie Elhazin (NP)

Lydia Aye (Hepatologist) at 11370 Anderson St. Suite 3625, Loma Linda, CA
92354 llaye@liu.edu Will e-mail fellows for any programs. Dr. Aye’s Secretary
is: Lorreta & Prior Auth is (Quinn PhanO at Liver Transplant center. Contact
Lorreta to drop off Library program.

Strategy:

 

Gain access to uncover Hep c needs. Educate staff on Simeprevir ,.
Dr. Aye said they should get [EHP contract in May for Riverside Medical Clinic.

 

Tactics:
E-mail for appointments. Set up in-service to educate on Simeprevir. Invite to
speaker programs or Web programs.

 

 

UCI Account Access: Credentialing through Reptrax. Almost completed. Must make
appointment with physician. Go to Reptrax location at: 101 The City Drive
South, route 99 Orange CA, 92868. Phone: 888-7174463 (H.H. Chao Digestive
Disease Center Bldg. 22C. 3 different locations w/Reptrax check in. Also, sign in
at Building 53 (room 211). Need to list who you have appt with. They will call
physician you have appt with before you go meet him/her. Need to sign out at
room 211 & at Reptrax location via computer

 

 

 

 

 
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Ron Lloyd Orange County Territory 5521415 8/3/14

 

HCV Key Influencers, Prescribers

Ke-Qin Hu M.D. (Director Hepatology Services)

 

Strategy:

Gain access to uncover Hep c needs. Educate staff on Simeprevir

 

Tactics:

E-mail for appointments. Set up in-service to educate on Simeprevir. Invite to
speaker programs or Web programs.

 

 

 

 

Other:

Safe Fleet Commitments:

Put picture of my family in my car to remind me why | need to follow all safe fleet rules
| will not eat or drink while driving

| will not drive when I’m tired or sleepy

 
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Exhibit 33

 
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Home Office Field Ride Agenda
Orange County Territory, Ron Lloyd

 

 

 

 

 

Friday Sept 5, 2014
Performance in VS+ Barometer Report, 8/01:
Current 13 week Simponi Olysio
Unit Volume 88.53 681.54
Nat’l Volume Rank 21/90 12/90
Volume Growth % 10.54% 127.37%
Nat’l Growth Rank 65/90 27/90

 

 

 

 

 

Performance in National Sales Rank

YTD P-Circle Qi 2014 Q2.2014
National Rank 17 12 37
Overall PQ% 142.5% 146.0% 139.0%
Top 25% in Nation Yes Yes Yes
Territory CPA% Exceeds 90.68% 93.13%

Q3 2014

Q4 2014

 

Today’s Planned Call Activity:

 

 

 

 

 

 

Prescriber Name | Sales Direction | Segmentation | Simponi Potential | Olysio Potential
Call#1 | Michael DeMicco | Olysio Not a Target N/A High/70 decile
Call #2 | Benjamin Simponi Simplifier High Not a Target
Weinberg
Call #3 | Catherine (Katie) | Olysio Not a Target N/A High/80 decile
Hill (Hassanein)
Call #4 | Donald Abrahm Simponi/Olysio } Simplifier High Low/10 decile
Call #5 | John Hoefs Olysio Not a Target N/A High/40 decile

 

 

 

 

 

 

 

Call #1— Dr. Michael DeMicco (Breakfast starts at 7:45am)
#6 HCV Market Volume Current 52 weeks for my Territory

OLYSIO SOVALD!

 

30,35 87.36

Demicco, Michael

Call Objective —HCV Profiling. Probe to better understand current patient types, demographics and
general HCV needs. Deliver Hep C Tear Sheets. If time allows go over OLYSIO program resources: Doctor
Discussion Guide, Treatment Calendar, Care4Today App & Support Group Finder.

Previous Call Background/Continuum — Presented “Hep C Resource Tear Sheets” and Dr. DeMicco
selected “What Can Happen to the Liver”. Dr. DeMicco stated he is using spontaneous use of OLYSIO

 

 
—~

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Call #2 — Dr. Benjamin Weinberg
#5 IBD Biologic Volume Current 52 weeks for my Territory

  

Prescriber Name

 
   

sea ne.
es sei HUMIRA REMICADE CIMZIA
Weinberg,Benjamin 302.49 5.00 1.65% 5.06 145.95 138.54 13.00

Call Objective —follow-up on possible new Simponi patient. Probe to find out which therapies he/she
tried & failed? Ask how does he offer the biologic options to patients? What perceived advantages
does Dr. W believe Simponi offers? Close for new Simponi script & communicate 4,5,6 Marketing
Message.

Previous Call Background/Continuum — Dr. Weinberg stated that current patient on Simponi is doing
well, and that he might have another patient for Simponi. Said be gives the patient all biologic options.
Find out what that conversation looks like? What advantages does Dr. W perceive Simponi to have?

Call #3 ~ Catherine (Katie) McCoy-Hill NP (Hassanein’s NP)
#2 HCV Market Volume Current 52 weeks for my Territory (Hassanein)
Manages patients for KOL & National Speaker Dr. Hassanein

OLYSIO SOVALD!

v v

  

Hassanein, Tarek 209.84 63.84 63,84 145.99
Call Objective — HCV Profiling. Probe to better understand current patient types, demographics and
general HCV needs. Offer Hep C Tear Sheets. Go over OLYSIO program resources: Doctor Discussion
Guide, Treatment Calendar, Care4Today App & Support Group Finder.

Previous Call Background/Continuum — Delivered Library Textbook & Katie stated they are using

spontaneous use of OLYSIO. Staff stated issues/hassle with authorizations for all Hep C treatments.

Cail #4 - Dr. Donald Abrahm (Lunch from 12:45 — 1:45)
#2 IBD Biologic Volume Current 52 weeks for my Territory
Recently added as Simponi Speaker

   

REMICADE CIMZIA
0.00 16.51

SOVALDI

Abrahm,Donald 24.53 7.56 30.82% 7.56 16.97

Call Objective ~ Probe to find out if patient is achieving clinical success. Probe to find out what
perceived advantages that Simponi offers? Probe to expand usage based on his clinical recent clinical
success w/Simponi. Leverage Mo. What can we do better to help support in his treatment on UC?
Previous Call Background/Continuum — Just put his 3" patient on Simponi and is using spontaneous use
of OLYSIO. Staff had difficulty with Simponi authorization (approval of 3 induction doses).

 
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Call #5 — Dr. John Hoefs
#6 HCV Market Volume Current 52 weeks for my Territory
KOL, Past Dir. of Hepatology at UCI, Getting Honored to 30yrs of Service treating Hep C at AASLD in Nov.

OLysio SOVALDI

 

to view Details)” . "volume
Hoefs,John 260.61 120.38 46.19% 120.38 140,22

Call Objective — Leverage Mo. Probe to find out how JSHI can best support him in the treatment of Hep
C. HVC Profiling. Probe to better understand current patient types, demographics and general HCV
needs. Remind him of OLYSIO Support Services ($25 per Fill & $25K including deductibles & Doctor
Discussion Guide, Treatment Calendar, Care4Today App & Support Group Finder.

Previous Call Background/Continuum — Did introduction call for Medical Director and MSL. Prior to that,
Dr. Hoefs, stated that his clinical expectation was SVR of 95%. Dr. Hoefs liked the OLYSIO Support
Services ($25 per Fill & $25k max.) & wants “prior authorization” help for staff.

 
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Exhibit 34

 
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From: Neuburg, Lisa [TTTUS]

Sent: Thursday, March 12, 2015 11:01 AM

To: Baird, Amy [TTTUS]; Damavandi, Bita [TTTUS]; DAVIE, WILLIAM [TTTUS]; Grant, Tyana
[TTTUS]; Jaisinghani, Manisha [COBIUS]; Lloyd, Ron H. [COBIUS]; Washington,Wilbur
[TTTUS]

Subject: FW: Regional OLYSIO+sofosubvir Access Updates for week ending 2/27/15

Attachments: OLYSIO_Coverage_Updates_Regional_2015-2-27.pdf

Hey, SWP—

Please review the following OLYSIO + sofosbuvir access updates. It looks like California Medicaid (FFS) has Olysio + sof on
formulary. Please forward on any information you have on this--and how the pull through is--for the LMS team.

Colorado Medicaid FFS does not cover OLYSIO + sof, unfortunately.
Arizona—| do not see a definitive access/coverage decision. Please let me know if one has been made.

Thank you!
Lisa

From: Field Communications [NAPharma]
Sent: Thursday, March 12, 2015 9:53 AM
Subject: Regional OLYSIO+sofosubvir Access Updates for week ending 2/27/15

OLYSIOg ~~

SIMEPREVIR

   

 

eweredty FIELD COMMUNICATIONS
TO: Janssen Specialty ~ Hepatitis/Immunology Field Sales and SCG, with a copy to business partners

DETAILS: With the recent approval of the combination of OLYSIO + sofosbuvir, and as payers and PBMs
continue to review this combination, we will continue to update you on the status of National and Regional
plans as these updates come through. We recognize that while formulary criteria/tier and process to access
OLYSIO + sofosbuvir is similar to Harvoni for most Commercial and Part D lives, the overall burden of access
could be greater due to the need for approval of 2 agents, as part of 2 separate processes for your providers.
Please continue to follow brand direction and use all resources available to you all to continue to drive demand
on each call! Your iMap data was refreshed on 3/10 for your internal, pre-call planning purposes.

New! Fee For Service Medicaid plan status update and current summary of coverage. Effective dates noted on
update below and attached.

° Per current brand and SCG direction Medicaid is not a new focus nor is triple therapy in the current
field guidance. All discussion should remain aligned to current label.

© Please continue to focus on using the patient types identified for OLYSIO +sofosbuvir, along with
support resources, to drive new patient starts where appropriate.

s This is state, fee-for-service Medicaid, not managed Medicaid

 
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@ Please note that coverage and policies can vary by state and that Medicaid patients are not eligible for
the $5 copay card assistance program

 
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OLYSIO® ACCESS UPDATES’
Week Ending: February 27, 2015

» REGIONAL ACCESS UPDATES

QLYSIO +sofosbuvir Effective
Coverage Update Date

Plan Name Channel

NEW! State Fee-for-Sarvice

j ] j t 3fOB?
Kentucky Medicaid Medicaid Preferred with Prior Authorization 2/2515

NEW!

California Medicaid
Connecticut Medicaid
Flonda Medicaid
Georgia Medicaid
Inchana Medicaid
Lousiana Medicaid
Matne Medicard
Massachusetts Medicaid
Mississippr Medicaid
New Harnpshire Medicard
New York Medicaid

Horth Carolina

Ohio Medicaid
Pennsylvania Medicard
Rhode Island Madecaid
South Carolina

Vermont Medicaid

West Virginia Medicaid

Staty Fee-for-Service Covered {may include 2/2815
Medtcatd Prine Authorization} “-

NEW!

Delaware Medicaid
Hhnois Mechicaid
Missouri Medicaid
Tennessee Medicaid

State Fee-for-Service
Medicaid

t
PS
an
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Requires Step Therapy

NEW!

Calorade Medicaid

OC Medicaid

Maryland Medicaid

Michigan Medicatd State Fee-for-Sermace
Minnesota Madicatd Medicaid

Oklahoma Medicaid

Toxas Medicatd

Virgima Medicaid

Wisconsin Medicaid

Not Covered’ Nanfarnulary 2°25:15

Recommended Actions
As part of each call, please continue to:
© Use all support and access avanlable to you Where an access loss has occurred, access may be nae
challenging to get OLYSIO + sofosbuvir for patients yvath certain insurance plans. butt may sult
be possible through the prier authorization or exceptions and appeals process.
* Identity the plans where OLYSIO + sefosbuvir is coverud via Map as part of pre-call planning and
integrate this inte your averall access message with your customers

* Orive demand for appropnate patient types where covered

 

 
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Any questions, please reach out to Nithya Srinivasan

Nithya Srinivasan
Product Manager, Professional Marketing, Hepatitis

etme,
janssen JT gsecgere

Janssen Pharmaceuticals, Inc.
1125 Trenton-Harbourton Road
Titusville, NJ 08560

office: 609-730-7810

cell - 412-478-7496

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Exhibit 35

 
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| Making It Happen
Writing Name: 12 Month | Key Patient Type Key Plans PA Staff Top Plan of Action
Nucynta SAO Message Pharmacies
Yes- weekly Breakthru Norepi Work comp Carla Jenny Assured/Hepps Bi-Weekly
calls/Speaking/Share
w/Tea
Yes- weekly 1122 Breakthru after Norepi BC/Cash/WP/ | Andrea/Daisy Cal Med Weekly calls/Speaking
; vico/RSD/Fibro Medco
Yes-weekly —1é 1036 Post surgical Norepi/Tolera ] UHC/Work Janet Assured Weekly calls/Speaking
: bility Comp/Cash
Yes Unreported } Breakthru instead of | Tolerability No Data Maria Newport Lido Weekly Calls
— oxy/Less opioid
Yes insurance driven- Cal} Tolerability Cat Griselle Fountain Valley Weekly Calis
Opt Opt/cash/Med
icare
Yes (not on EV} 991 Breakthru after vico [Tolerability/Co fWP/Medco/Ca Donna and Assured Weekly
before oxy/Fibro st sh Christine Calls/Lunches/Programs
Yes (not on EV) 915 Breakthru instead of | Tolerability | Medco/Cash/ Jackie Assured/ Access /Need lunch again
oxy we Newport Lido
Yes (not on EV) 889 CNS pain/Less opioid Norepi — [BC/WP/Medco Sherry Plaza Pharm Needs frequency
Yes (not on EV) 674 Breakthru instead of | Tolerability | Cash/UHC/Wo Self Santa Bi-weekly calls
oxy rk com Ana/Tustin
Yes 624 insurance Norepi WP/BC/Medic Richard Saddleback Weekly calls
driven/Breakthru/Les are Valley
s.opioid
603 Work Med Towers Access/Carl working on
comp/PP0/HM
9°
Yes-weekly 578 Breakthru and post Norepi Medco/WP/W| Angela/Karen- | Hili/Newport Ctr: Weekly calls
op ork Comp Michelle
Yes 568 Breakthru/RSD Norepi HN/Medco/UH} —Karen/Alicia Access/Need lunch again
Cc
Yes-weekly 534 Breakthru/less Norepi 50% Work Glenda Assured/ Santa } Bi-weekly calls/Share with
aceta/less opioid Comp/no Hmo Ana Tus Phil
486 Fibromyalgia/neuro Norepi Monarch/smalf Louise/Charity Sea View Needs frequency
patients | Work Comp
440 Post-op instead of | Tolerability |PPO/Medicare] Michelle/Mike - Needs frequency/Carl
ir- Hoa PA working on
428 Elderly and Breakthru Tolerability | WP/BC/Medic Richard Saddleback Waiting for Pouradib's
are Valley opinion
423 Work comp/instead | Tolerability 90% Work Tony Hill/Newport Working on Russ
of vico/no long acting Comp Ctr/Coast
403 Post-op pain Tolerrability Work Tower Access/Carl working on
comp/PP0/HM
oO
378 Breakthru instead of Norepi Work Andrea Cal Med/Med Needs frequency/Carl
oxy comp/PP0/HM Towers working on
0
Yes-weekly 340 Breakthru/post-op Norepi Work trma Tower Speaking
pain comp/PP0/HM
0
Yes 295 Breakthru instead of | Tolerability } BC/Cash/WP/ Andrea Saddleback Arts Weekly calls
oxy Medco
291 Post-op pain Tolerability Work Tower Access/Carl working on
comp/PP0/HM
0
Yes-weekly 255 Breakthru/Neuro Noreip Medco/WP/W] Angela/Karen- J Hill/Newport Ctr Speaking
pain ork Comp Michelle
Yes 235 Work comp/instead | Tolerability 90% Work Tony Hill/Newport Ctr Weekly calls
of vico/no long acting Comp
Yes-weekly Broad usage- based Norepi Work Andrea Pacific (no Speaking
on trial comp/PP0/HM report}
oO
Yes Breakthru Tolerability 70% work Giselle Assured Weekly calls
comp,

 

 

 

 

 

 

 

 

 

 

 

 

 

 
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Breakthru instead of
oxy with Avinza and

Yes-weekly

Neuro
acute

Post-op

Yes KR. . New

Yes-weekly

Insurance
- Op instead of
oxycontin and vico

Breakthru

Post -Op - plastic

Breakthru/limit

Post -Op Pain

Tolerability

Tolerability

Tolerability
Tolerability

Tolerability

Tolerability

Tolerability

Norepi

Tolerability

Tolerability
Tolerability
7

Tolerability

Norepi
Norepi

Tolerability

70% work
comp

Giselle

Lillian

Lilly
Marlene

Lindsay

Robin
Carolyn
30% Work Ashley

Work Leslie

Dee-Dee
Dee-Dee

100% Work

 

Assured Weekly calls

Newport Coast Speaking

Has volume
Increase frequency during

Oso Pharm Bi-weekly calls to maintain

Hilt to intro
to intro
Assured Needs frequency- Carl

Assured Needs frequency-

with Diana
Needs reminding of
Follow up on recent
reminding of

Needs reminding of

Needs Frequency
Needs Frequency

Follow up on recent trial

 
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Exhibit 36

 
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“ecpergan

yanssen

Monday, January 09, 2012
Gerald Sacks, MD

2021 Santa Monica Blvd.
Suite 300E

Santa Monica, CA 90404

Dear Dr. Sacks:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Friday, January 27, 2012

Time: 6:00 PM

Location: Boa Steakhouse

9200 W. Sunst Boulevard
West Hollywood, CA 90069
Phone: (310) 278-2050
Meeting ID: 25883

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Jason Hamann

888-323-6700 Voicemail Ext: 8742

Email: jhamann@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1500.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED aiong with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

 

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you
have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

if you need further assistance please do not hesitate to contact me.

Jill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Exhibit 37

 
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Monday, February 06, 2012
Lawrence Miller, MD
8641 Wilshire Blvd
Ste. 200
Beverly Hills, CA 90211
Dear Dr. Miller:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Wednesday, February 15, 2012

Time: 6:30 PM

Location: Sotto Restaurant

9575 W Pico Boulevard

Los Angeles, CA 90035
Phone: (310) 277-0210
Meeting ID: 27498

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Paul Wexier

888-323-6700 Voicemail Ext: 4582

Cell Phone: (310)702-5118

Email: pwexter@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1000.00 for this program.

Travel

if you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services, MedForce will not be permitted to reimburse any air or ground expenses not made through J&J

Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you
have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original! receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

dill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Exhibit 38

 
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February 28, 2008

Ellie Goldstein, MD

2021 Santa Monica Bivd

740-E

Santa Monica, CA 90404-2206

Dear Dr. Goldstein:

On behalf of Ortho McNeil™ and the Antibiotic Therapy Speakers Bureau, we are pleased to confirm your participation in
the following program:

Topic: Guidelines for the Management of Community-Acquired Pneumonia: Support for a new Treatment Paradigm
Date: Tuesday, March 18, 2008

Time: 7PM

Location: Valentino's Restaurant

Los Angeles, CA
Phone:
Meeting ID: 2687

Meeting Contact
Should you need more information regarding this meeting, your representative is:

Glen Moering
Voicemail: (888) 323-6700 Ext: 1784
Email: gmoering@ibius.jnj.com

Honoraria
For your participation, Ortho McNeil™ will provide an honorarium of $1500.00 for this program.

Travel
We understand that you will be making your own travel arrangements for this meeting and will be expensing any out of
pocket expenses to MedForce with the enclosed form.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance.
Please fill out the form completely and enclose original receipts.

Send the form and original receipts to:

Ortho McNeil™, Antibiotic Therapy Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203

Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Doreen Babo

Project Manager

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8343

Fax: 732-389-9506

Email: dbabo@medforce.net

 
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Exhibit 39

 
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Thursday, April 19, 2012
Jonathan Nissanoff, MD
15525 Pomerado Rd., #E6
Poway, CA 92064

Dear Dr. Nissanoff:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Wednesday, May 09, 2012

Time: 7:00 PM

Location: La Seine

14 N La Cienega Blvd

Beverly Hills, CA 90214
Phone: (310) 358-0922
Meeting ID: 26930

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Bita Damavandi

888-323-6700 Voicemail Ext: 7837

Cell Phone: (310)210-2482

Email: bdamavan@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $2500.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring

either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J

Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the
form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Michelle Trussell

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: (732) 380-8365

Fax: 732-389-9506

Email: mtrussell@medforce.net

 
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Exhibit 40

 
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Friday, February 17, 2012

William French, MD

Harbor-UCLA Medical Center

1000 W. Carson St

Torrance, CA 90509

Dear Dr. French:

On behalf of Janssen Pharmaceuticals, inc., we are pleased to confirm your participation in the following program:

XARELTO® (rivaroxaban) for Reducing the Risk of Stroke and Systemic Embolism in Patients With Nonvalvular Atrial

Topic: Fibrillation
Date: Wednesday, March 07, 2012
Time: 6:30 PM
Location: Fig and Olive

8490 Melrose Place

Los Angeles, CA 90069
Phone: (310) 360-9100
Meeting ID: 25840
Meeting Contact
Should you need more information regarding this meeting, your representative is:
Brian Katz

(888) 323-6700 Voicemail Ext: 1395
Cell Phone: (818) 652-7900
Email: bkatz1@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $2000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code SPAFMED aiong with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring

either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your
expenses within 30 days of the program or we will be unable to process your reimbursement.

Send the form and original receipts to:

Janssen Pharmaceuticats, Inc.Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Ann Del!Conte

Sr. Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 800-592-7609

Direct Line: 732-380-8352

Fax: 800-219-5079

Email: adelconte@medforce.net

 
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Thursday, May 31, 2012
Matthew Budoff, MD
1124 W Carson St.
Torrance, CA 90502
Dear Dr. Budoff:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: XARELTO® (rivaroxaban) for Reducing the Risk of Stroke and Systemic Embolism in Patients With Nonvalvular Atrial

Fibrillation
Date: Wednesday, June 27, 2012
Time: 6:30 PM
Location: Tanino

1043 Westwood Boulevard
Los Angeles, CA 90024
Phone: (310) 208-0444
Meeting ID: 30843

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Brian Katz

(888) 323-6700 Voicemail Ext: 1395

Cell Phone: (818) 652-7900

Email: bkatz1@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $2000.00 for this program.

Travel

if you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code SPAFMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J

Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the
form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you

have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Ann DelConte

Sr. Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 800-592-7609

Direct Line: 732-380-8352

Fax: 800-219-5079

Email: adelconte@medforce.net

 
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Exhibit 42

 
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Janssen

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Tuesday, November 22, 2011
Lawrence Miller, MD

8641 Wilshire Blvd

Ste. 200

Beverly Hills, CA 90211

Dear Dr. Miller:

On behaif of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Thursday, December 08, 2011

Time: 6:30 PM

Location: Boa Steakhouse

9200 W. Sunst Boulevard
West Hollywood, CA 90069
Phone: (310) 278-2050
Meeting ID: 24065

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Jason Hamann

888-323-6700 Voicemail Ext: 8742

Email: jhamann@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J

Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you
have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Jill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Exhibit 43

 
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PriCara

September 15, 2008

Allan Metzger, MD, FACP, FACR
8737 Beverly Bivd.

Ste. 203

Los Angeles, CA 90048

Dear Dr. Metzger:

On behalf of PriCara® and the Chronic Pain Treatment Speakers Bureau, we are pleased to confirm your participation in
the following program:

Topic: Innovative Approach to Chronic Pain
Date: Thursday, September 18, 2008
Time: 7;00 PM

Location: Geisha House
6633 Hollywood Boulevard
Los Angeles, CA 90028
Phone: (823)460-6300
Meeting ID: 7127

Meeting Contact
Should you need more information regarding this meeting, your representative is:

Bita Damavandi
Voicemail: (888) 323-6700 Ext: 7837
Email: bdamavan@its.jnj.com

Honoraria
For your participation, PriCara® will provide an honorarium of $1000.00 for this program.

Travel
We understand that you will be making your own travel arrangements for this meeting and will be expensing any out of
pocket expenses to MedForce with the enclosed form.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance.
Please fill out the form completely and enclose original receipts.

Send the form and original receipts to:

PriCara®, Chronic Pain Treatment Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203

Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Colleen Smith

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8387

 
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Fax: 732-389-9506
Email: csmith@medforce.net

 
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Exhibit 44

 
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PriCara

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September 15, 2008

Gerald Sacks, MD

2020 Santa Monica Blvd.
Ste. 150

Santa Monica, CA 90404

Dear Dr. Sacks:

On behalf of PriCara®, Division of Ortho-McNeil-Janssen Pharmaceuticals, Inc and the NEO Pathways Speakers Bureau, we are pleased to
confirm your participation in the following program:

Topic: NEO Pathways: New Directions in Pain
Date: Tuesday, October 21, 2008
Time: 7:00
Location: Katana
8439 West Sunset Blvd
West Hollywood, CA 90069
Phone: (323)650-8585

Meeting ID: 7130

Meeting Contact
Should you need more information regarding this meeting, your representative is:

Bita Damavandi
Voicemail: (888) 323-6700 Ext: 7837
E-mail: bdamavan@its.jnj.com

Honoraria
For your participation, PriCara® will provide an honorarium of $1500.00 for this program.

Travel

If you require travel, PriCara® will provide one round-trip (coach class) air or rail ticket, one night's hotel accommodations, ground transport
to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long distance to the meeting. To make your travel
arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide the code NeoMed along with your name, meeting ID,
date, & location of the meeting, and they will make your arrangements.

Expenses
Aitached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the form
completely and enclose original receipts.

Send the form and original receipts to:

PriCara®, NEO Pathways Speakers Bureau
clo MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Colleen Smith

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8387

Fax: 732-389-9505

Email: csmith@medforce.net

 
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©Ortho-McNeil-Janssen Pharmaceuticals, Inc, 2008 O2TLO8064

 
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Exhibit 45

 
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Thursday, April 12, 2012
Lawrence Miller, MD
8641 Wilshire Blvd

Ste. 200

Beverly Hills, CA 90211
Dear Dr. Miller:

On behalf of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Wednesday, April 18, 2012
Time: 7:00 PM
Location: IL Covo
8706 W 3rd Street
Los Angeles, CA 90048
Phone: 310-858-0020

Meeting ID: 26929

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Bita Damavandi

888-323-6700 Voicemail Ext: 7837

Cell Phone: (310)210-2482

Email: bdamavan@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, inc. will provide an honorarium of $1000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, Inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring
either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J

Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you
have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
clo MedForce

20 Avenue ait the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Michelle Trussell

Project Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: (732) 380-8365

Fax: 732-389-9506

Email: mtrussell@medforce.net

 
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Exhibit 46

 
Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 67 of 77 Page ID #:369

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Tuesday, November 29, 2011
Lawrence Miller, MD

8641 Wilshire Blvd

Ste. 200

Beverly Hills, CA 90211

Dear Dr. Miller:

On behaif of Janssen Pharmaceuticals, Inc., we are pleased to confirm your participation in the following program:

Topic: New Perspectives in the Management of Moderate to Severe Chronic Pain
Date: Thursday, December 08, 2011

Time: 6:30 PM

Location: Wolfgang's Steakhouse

445 North Canon Drive

Beverly Hills, CA 90210
Phone: (310) 385-0640
Meeting ID: 24065

Meeting Contact

Should you need more information regarding this meeting, your representative is:
Jason Hamann

888-323-6700 Voicemail Ext: 8742

Email: jhamann@its.jnj.com

Honoraria
For your participation, Janssen Pharmaceuticals, Inc. will provide an honorarium of $1000.00 for this program.

Travel

If you require travel, Janssen Pharmaceuticals, inc. will provide one round-trip (coach class) air or rail ticket, one night's hotel
accommodations, ground transport to/from hotel, and reimbursement for certain out of pocket expenses for those traveling a long
distance to the meeting. To make your travel arrangements, please contact J&J Travel at (877) 355-6333 as soon as possible. Provide
the code NUCYNTAMED along with your name, meeting ID, date, & location of the meeting, and they will make your arrangements.

Regulations in effect as of August 1, 2009, require the mandatory use of J&J Travel services for all J&J consultants requiring

either air or ground services. MedForce will not be permitted to reimburse any air or ground expenses not made through J&J
Travel services.

Expenses
Attached you will find an expense form with published reimbursement guidelines set forth by Healthcare Compliance. Please fill out the

form completely and enclose original receipts. If you have ordered room service during your hotel stay, please ensure that you
have included the detailed room service receipt with your expense reimbursement form. Please ensure that we receive your

expenses within 30 days of the program or we will be unable to process your reimbursement.
Send the form and original receipts to:

Janssen Pharmaceuticals, Inc.Speakers Bureau
cio MedForce
20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

If you need further assistance please do not hesitate to contact me.

Jill Staffa

Operations Coordinator

MedForce

20 Avenue at the Common, Suite 203
Shrewsbury, NJ 07702

Phone: 888-805-0386

Direct Line: 732-380-8365

Fax: 732-389-9506

Email: jstaffa@medforce.net

 
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Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 69 0f 77 Page ID #:371

 

From: Damavandi, Bita [TTTUS]

Sent: Thursday, January 22, 2015 3:04 PM

To: usa5919@fedex.com

Ce: Damavandi, Bita [TITUS]; teavandi@yahoo.com
Subject: feb 12 dinner

Attachments: Invitation.pdf

Please print 10 invites on cardstock, in color.

Will be by in case any questions in 30 min.
Tea
310-210-2482

From: Sumner, Blaire [mailto:bsumner@medforce.net]

Sent: Thursday, January 22, 2015 7:07 AM

To: Damavandi, Bita [TTTUS}

Subject: PROGRAM CONFIRMATION: 2015 OLYSIOR Speakers Bureau: Meeting ID #68197: Thursday, February 12,
2015

Hi Tea-
You are all set at Cecconi’s. Attached is all the paperwork as well as the contract worked out with the venue. |
have ordered the screen from them, but will have the Laser and Advancer ordered and delivered from Tallen.

Thanks!
Blaire

 

Attached are the necessary documents for your upcoming Speaker's Bureau program listed below:
Meeting ID: 68197

Topic: A Clinical Overview of OLYSIO™ (simeprevir)
Date: Thursday, February 12, 2015

Time: 7:00 PM

Location: Cecconi's

8764 Melrose Ave

West Hollywood, CA 90069 (310) 432-2000
Speaker: Edward Mena, MD
Speaker Cell: (323) 365-8968

Please take a moment to review the attached documents, as they reflect the confirmed details for your program.

e Invitation
* HCC Sign in Sheet (to be faxed back to MedForce using the information at the bottom of the Sign in sheet)
« Copy of Speaker Confirmation Letter

If any information has changed, please contact MedForce as soon as possible.

As a reminder, per compliance guidelines, honoraria payment may not be released to the speaker until! you have logged
onto www. janssenspeakerprograms.com to accurately record participating attendeesand fill out your online speaker
evaluation. Refer to Meeting ID# 68197.

 
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**IMPORTANT* You will be responsible for adding your attendees directly into this meeting.

Please be sure to capture attendee names, addresses, specialties and degree so you can enter this
information online post program.

Please refer to the Resources tab on www.janssenspeakerprograms.com for tips on how to register and
record your attendees.

We anticipate your meeting will be a success and we thank you for your support. As always, if you have any questions,
please do not hesitate to contact me.

Blaire Sumner

Project Coordinator

MedForce

119 Avenue at the Common, Suite 7
Shrewsbury, NJ 07702

Phone: 888-735-7418

Direct Line: (732) 380-8721

Fax: (732) 389-9506

Email: bsumner@medforce.net

 
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Exhibit 48

 
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From: Sunny Lee

Sent: Thursday, August 20, 2015 8:12 PM

To: Thomas Carvette; Carolyn Crane; Chris Wanzie; Eric La Chance; Jackie Jones; Joseph
Wolfe; Justin Rhodes; Nancy Jodoin; Rakhee Batra; Robin Lee; Ryan Dillon; Tea’
Damavandi

Cc: Kathy Burke; Daniel McLaughlin

Subject: RE: PAP for Medicare patients under 400%

Thanks Tommy. Good work.

From: Thomas Carvette

Sent: Thursday, August 20, 2015 6:04 PM

To: Sunny Lee; Carolyn Crane; Chris Wanzie; Eric La Chance; Jackie Jones; Joseph Wolfe; Justin Rhodes; Nancy Jodoin;
Rakhee Batra; Robin Lee; Ryan Dillon; Tea’ Damavandi

Cc: Kathy Burke; Daniel McLaughlin

Subject: RE: PAP for Medicare patients under 400%

Exactly right, Sunny. If your HCP knows they have a government insured patients, it will make the triage to the PAP
pharmacy much easier and limit the contact with the office to confirm information if Section 5 is complete. Also, make sure
they sign 6 and 7.

Kind regards,
Thom

From: Sunny Lee

Sent: Thursday, August 20, 2015 8:28 PM

To: Carolyn Crane; Chris Wanzie; Eric La Chance; Jackie Jones; Joseph Wolfe; Justin Rhodes; Nancy Jodoin; Rakhee
Batra; Robin Lee; Ryan Dillon; Tea’ Damavandi

Ce: Kathy Burke; Daniel McLaughlin; Thomas Carvette

Subject: PAP for Medicare patients under 400%

F LF

{ spent the day confirming and reconfirming the PAP process so here it is. This is for Medicare patients
who are under 400%.

We received reports and saw it first hand today in an office that patients will be triaged to PAP fairly quickly if we do the
following:

1) Make sure the patients fill out section 5 on the Enrollment form before it is submitted to MP which is their
stated income.

When MP runs the preliminary BI and sees that it is a Medicare patient they will then look to Section 5 and see the
patient’s income. If it is below the 400% poverty line then they will get PAP. There will be no reason to run a Medical
Exception on these patients.

Let me know if you have questions.

Thanks,

 
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Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 73 0f 77 Page ID #:375

Sunny Lee

District Manager || West
Cardiometabolic Field Access
949-940-5916

Sunny.lJee@regeneron.com

 
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DIVISION OF ORTHO BIOTECH PRODUCTS, LP.

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TOTALITY Field Business Expense Request Form
(for non-American Express expenses)

instructions: Complete form and mail or fax to your Regional Office Coordinator (ROC) or Field Administrative
Assistant, along with ALL supporting documents as required in the “Checklist” portion below. Note that items
shown in gray are default choices required by TOTALITY and do not require your input.

 

  
 

 

    

 

Type: Business Expense - Field Program Description:

Support professional and patient focused educational
Sub Type (Type of Expense / Service): programs that educate liver wellness, disease prevention,
Marketing Sponsorship/Corporate Membership youth liver health, fatty liver, managing medications and

treatment choices.
Are you paying a third party supplier? No
Therapeutic Area: Virology - General
Authorized BU: TT - 250T
Substance: ---------------—---
Transaction Title (Name of Event):
2015 Healthy Flavors of Coronado / American Liver Year Majority of Activity Completed: 2015
Foundation

is there a publication planned or aniicipated as part
of this transaction? No

 

   

 

Payee / Associated HCP Name: Contact Name: Michele Demotto
American Liver Foundation
Contact Phone: 619-291-5483
Payee / Associated HCP Address:

American Liver Foundatio; Pacific Coast & Hawaii Email Address: Mdemotto@liverfoundation.org
Division

2515 Camino del Rio South, Tax ID**: XX-XXXXXXX

Suite 122,

San Diego, CA 92108 Gov Affiliation? No

Payee Amount: $4000 NIH Affiliation? --------------------

(Note: TOTALITY only accepts whole dollar amounts)

Text for Check Memo Field: (max 20 characters)
2015 Healthy Flavors of Coronado

 

 

   
 

 

 

 

 
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Case 2:16-cv-06997-RGK-RAO Document 1-3 Filed 09/16/16 Page 760f77 Page ID #:378

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DIVISION OF ORTHO BIOTECH PRODUCTS, LP.

 

 

Totality ;

Date the FDA, OIG, and EPLS exclusion lists were checked to assure the Payee or Associated HCP is not
excluded: (The ROC will conduct exclusion list searches and indicate the date these were performed)

 

lf the Supplier/Payee is a 3rd party, who will be responsible for performing the following checks FDA
debarment, OIG & EPLS exclusion, Gov affiliation, NIH affiliation? N/A

 

 

 

 

Name: Amy Baird WWID: 1037632

Dept: JSHI Direct Supervisor Name: Tyana Grant /Mohammed Issa
Phone: 619-621-7730 RDT #: 5521416
E-mail: abaird7@its.jnj.com Reason for Requesting via TOTALITY:

] Greater than $1,000 Expense
[_] Institution does not take American Express
(_] Other (Explain)

 

 

 

To be completed by ROC / Field Administrative Assistant:

Company Code Cost Center: Cost Element:

 
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DIVISION OF ORTHO BIOTECH PRODUCTS, LP.

 

Totality _

 

 

 

General Notes:

« Appropriate Field Business Expenses that do not exceed $1,0000.00, where Corporate American Express is
accepted, should be submitted by the Field Representative through gXRS. All supporting documentation
outlined in this checklist should be attached to corresponding gXRS Expense report

= Appropriate Field Business Expenses that exceed $1,000.00, or where Corporate American Express is not
accepted, should be submitted (by fax or e-mail) to your ROC or Field Administrative Assistant via this Field
Business Expense form. The ROC / Field Administrative Assistant will enter the details of the Field Business
Expense into TOTALITY and process the transaction. Ail supporting documentation outlined in this check fist
should be attached by the field representative when submitted to the ROC via this Field Business Expense
form, and all submitted documents, including this form, will be submitted with the TOTALITY request

 

 

 
   

 

Advertisement
« Signed Letter of Request on organization’s letterhead should include:
o Documentation of what promotional opportunities OBI/TT is receiving
o Amount requested
o Year the majority of activity will occur
=  OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community
initiative that is of interest to OBI/TT

Credentialing Fees
« Signed Letter of Request on organization’s letterhead should include:
o Detailed documentation of what OBI/TT is receiving, e.g. access to facilities, product formulary, etc.
o Amount requested
o Year the majority of activity will occur
» Application and other relevant documents must be submitted for HCC (and legal, as needed) review

Display Fee:
= Signed Letter of Request on the organization’s letterhead should include:
o Amount requested
o Date and location of program
co Title and description of program or event
«  OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community
initiative that is of interest to OBI/TT

Marketing Sponsorship/Corporate Membership

« Signed Letter of Request on organization’s letterhead should include:
o Documentation of what OBI/TT is receiving for this membership/sponsorship
o Amount requested
o Year the majority of activity will occur

* OBI/TT Initiator must ensure that this business expense is related to supporting a disease state or community

initiative that is of interest to OBI/TT
= Corporate Memberships may only be submitted by the SCG organization

 

 

 

 
